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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                              Case No. 21-cv-22437-BLOOM/Otazo-Reyes

  MICHAEL PEARSON, et al.,

          Plaintiffs,

  v.

  DEUTSCHE BANK AG, et al.,

        Defendants.
  ___________________________/


                  OMNIBUS ORDER ON SUMMARY JUDGMENT MOTIONS

          THIS CAUSE is before the Court upon Defendants’ 1 Motion for Summary Judgment

  (“Defendants’ Motion”), ECF No. [143], and Plaintiffs’ 2 Motion for Partial Summary Judgment

  (“Plaintiffs’ Motion”), ECF No. [141] (together, “the Motions”). 3 Plaintiffs filed their Response to

  Defendants’ Motion, ECF No. [161], 4 to which Defendants filed a Reply, ECF No. [166]. 5

  Defendants filed their Response to Plaintiffs’ Motion, ECF No. [155], 6 to which Plaintiffs filed a

  Reply, ECF No. [170]. The Court has carefully considered the Motions, the Responses, the Replies,




          1
            The Defendants in this action are Deutsche Bank AG, Deutsche Bank Trust Company Americas,
  Deutsche Bank Luxembourg S.A., and Deutsche Bank (Suisse) S.A. (collectively, the “Defendants”).
          2
            The Plaintiffs in this action are Michael Pearson, Andrew Childe, and Anna Silver.
          3
            Defendants filed a statement of material facts in support of its motion, ECF No. [144] (“Defs.’
  SOMF”), and Plaintiffs filed a statement of material facts in support of its motion, ECF No. [141-1] (“Pls.’
  SOMF”).
          4
            Plaintiffs also filed a response to Defendants’ statement of material facts and additional facts.
  ECF No. [159] (“Pls.’ CSOMF”).
          5
            Defendants also filed a reply to Plaintiffs’ response to Defendants’ statement of material facts and
  additional facts. ECF No. [167] (“Defs.’ RSOMF”).
          6
            Defendants also filed a response to Plaintiffs’ statement of material facts. ECF No. [156] (“Defs.’
  CSOMF”).
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  the record in this case, the applicable law, and is otherwise fully advised. For the reasons that

  follow, Defendants’ Motion is granted in part and denied in part, and Plaintiffs’ Motion is denied.

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  I.             BACKGROUND AND MATERIAL FACTS

                 As alleged, the action stems from a global Ponzi scheme resulting in hundreds of millions

  of dollars in losses and dozens of lawsuits. Amend. Compl., ECF No. [31] ¶¶ 1-2, 44. The scheme

  was perpetrated by four individuals—Roberto G. Cortes (“Roberto Cortes”), Ernesto H. Weisson

  (“Weisson”), Juan Carlos Cortes, and Frank Chatburn (“Chatburn”) (collectively, the “Individual

  Wrongdoers”)—as principals of two companies—South Bay Holdings, LLC (“South Bay”) and

  Biscayne Capital International, LLC (“Biscayne”). Id. ¶ 3. South Bay purported to develop real

  estate in South Florida, and Biscayne helped raised capital for the real estate developments. Id.

  ¶¶ 9-10.




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          Plaintiffs are foreign representatives 7 and liquidators of 13 companies currently undergoing

  liquidation in the Cayman Islands (collectively, the “Companies”). Id. ¶ 18. 8 Five of the

  Companies—Diversified Real Estate, GMS Global Market Step Up, Preferred Income, Sentinel

  Investment, and SG Strategic (collectively, the “Note Issuers”)—were created by the Individual

  Wrongdoers as special purpose vehicles to raise funds for South Bay. Id. ¶¶ 11, 19. The Amended

  Complaint does not explain the role of the other eight Companies (collectively, the “Non-Issuers”)

  in the Ponzi scheme. However, an organizational chart included in the pleading shows that the

  Non-Issuers served as either advisors and broker dealers, holding companies, trusts, or “Affiliated

  Companies.” See id. ¶ 21.

          Defendants are Deutsche Bank, a global financial institution with branches in the United

  States and abroad, and three of its subsidiaries: Deutsche Trust, Deutsche Bank Luxembourg S.A.

  (“Deutsche Bank Lux”), and Deutsche Bank Switzerland (“Deutsche Bank Suisse”). Id. ¶¶ 28-29.

  Pertinent here, Deutsche Bank has branches in New York (“Deutsche Bank New York”) and

  London (“Deutsche Bank London”). Id. ¶ 28. References in the Amended Complaint to “Deutsche

  Bank” include its New York and London branches, which are not separate entities. Id.

          The Ponzi scheme generally worked as follows. The Individual Wrongdoers used the Note

  Issuers to sell notes to investors who believed that the notes were backed by South Bay’s real estate


          7
            The Amended Complaint uses the term “foreign representative” as defined by the Bankruptcy
  Code: “a person or body, including a person or body appointed on an interim basis, authorized in a foreign
  proceeding to administer the reorganization or the liquidation of the debtor’s assets or affairs or to act as a
  representative of such foreign proceeding.” Amend. Compl. at 7 n.4 (quoting 11 U.S.C.A. § 101(24)).
          8
            The Companies are (1) Biscayne Capital (B.V.I.) Ltd. (“Biscayne Capital (B.V.I.)”); (2) Biscayne
  Capital Holdings Ltd. (“Biscayne Capital Holdings”); (3) Diversified Real Estate Development Ltd.
  (“Diversified Real Estate”); (4) GMS Global Market Step Up Note Ltd (“Global Market Step Up”); (5)
  North Pointe Holdings (B.V.I.) Ltd. (“North Pointe”); (6) Preferred Income Collateralized Interest Ltd.
  (“Preferred Income”); (7) Sentinel Investment Fund SPC (“Sentinel Investment”); (8) Sentinel Mandate
  and Escrow Ltd. (“Sentinel Mandate”); (9) SG Strategic Income Ltd. (“SG Strategic”); (10) Sports
  Aficionados Ltd. (“Sports Aficionados”); (11) Spyglass Investment Management Ltd. (“Spyglass”); (12)
  Vanguardia Group Inc. (“Vanguardia Group”); and (13) Vanguardia Holdings Ltd. (“Vanguardia
  Holdings”). Amend. Compl. ¶ 18.


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  assets. Id. ¶ 11. In truth, South Bay’s properties were heavily leveraged, rendering the security

  interests worthless. Id. ¶¶ 12-13. The Individual Wrongdoers then

              used the proceeds generated through the issuance of notes to offset
              losses in real estate investments; cover liabilities incurred by other,
              Biscayne-related entities; pay interest and principal on other notes;
              enrich themselves, their relatives and associates . . . ; and fund
              unrelated investments and entities that they never disclosed to the
              innocent investors.

  Id. ¶ 14.

          Specifically, South Bay funneled money into Biscayne to make it appear like a legitimate

  advisory firm. Id. ¶ 82. The Individual Wrongdoers then used Biscayne to steer investor funds to

  special purpose vehicles. Id. ¶ 83. When the 2008 real estate crash affected South Bay’s viability,

  the Individual Wrongdoers used some of the Note Issuers and special purpose vehicle (“SPV”)

  Spyglass to prop up South Bay and continue gathering investor funds. Id. ¶¶ 85-96.

          Plaintiffs contend that Defendants, who served as the primary bank for Biscayne and the

  Companies, knew that “little to none” of the innocent investors’ funds were being used for their

  intended purpose. Id. ¶¶ 2, 16. Instead, the money was being diverted to individual accounts, and

  Defendants, despite knowing this, “perpetuated the fraud through numerous strategies designed to

  raise new money to repay liabilities to investors or to extend the maturity of pre-existing debt

  obligations.” Id. ¶ 2.

          Deutsche Bank served as the issuing agent for the Note Issuers. Id. ¶ 137-38. To that end,

  Deutsche Bank entered into Agency Agreements with Note Issuers SG Strategic, Global Market

  Step Up, and Preferred Income, with Deutsche Bank serving as an issuing agent, transfer agent,

  and principal paying agent. Id. ¶¶ 139, 143, 144.

          In 2014, following an inquiry from the Securities and Exchange Commission, the

  Individual Wrongdoers also formed Madison Asset, LLC (“Madison”), which steered investors



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  toward the Note Issuers to fund the scheme. Id. ¶¶ 97-99. Deutsche Bank, working with Gustavo

  Trujillo (“Trujillo”), Madison’s Operations Manager at the time, “set up nearly three dozen sub-

  accounts for various Note Issuers, Companies, and other entities related to the Individual

  Wrongdoers and Biscayne.” Id. ¶¶ 101-107. According to Plaintiffs, Deutsche Bank played a role

  in the fraudulent scheme through these subaccounts, including by instructing “Trujillo . . . how to

  circumvent Defendants’ anti-money laundering and ‘Know Your Customer’ rules.” Id. ¶¶ 108-09.

  A Deutsche Bank employee personally met Trujillo and another individual associated with

  Madison and explained how to “properly title” sub-accounts to avoid internal systems meant to

  catch criminal acts. Id. ¶¶ 110-13.

         Plaintiffs divide Defendants’ wrongdoing into four categories:

               First, they allowed the Note Issuers to avoid certain debt service
               obligations. Second, they failed to investigate or turned a blind eye
               toward transactions and relationships of which they were actually
               aware and that would have revealed the Individual Wrongdoers’
               fraudulent scheme years before it collapsed on its own. Third, after
               discovering that the Individual Wrongdoers and others were taking
               actions in connection with the accounts that were plainly
               inappropriate (e.g., overdrafts in custody accounts), the bank neither
               alerted the Note Issuers’ director nor closed the accounts. Fourth,
               Defendants provided advice and assistance to the Individual
               Wrongdoers and others that allowed them to better conceal the fraud
               and continue their scheme.

  Id. ¶ 159.

         Specifically, Defendants facilitated three “swap transactions,” allowing the Individual

  Wrongdoers to avoid paying maturing notes by transferring the notes from one Note Issuer to

  another. Id. ¶ 166. According to the Amended Complaint, in a swap transaction, an “entity managed

  by the Individual Wrongdoers would acquire the majority of a Note Issuer’s outstanding notes just

  before a maturity obligation would have required the Note Issuer to pay interest and other

  remuneration to its note holders, thereby ‘swapping’ or trading the right to receive those payments



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  from one note holder to another.” Id. ¶ 167. The acquiring entity would then renounce the right to

  receive cash payments on the maturing notes and accept payments in kind. Id. ¶¶ 176, 179. The

  Agency Agreements did not contemplate renouncing cash payments or allow for payments in kind.

  Id. ¶¶ 177, 190.

           The Note Issuers “re-tapped” previously held securities to defer making cash payments. Id.

  ¶ 219. “A ‘re-tap’ is a process by which a security-issuing entity raises money by selling securities

  that the issuer previously authorized but were held back,” Id. ¶ 217, and “[a]lthough re-tapping is

  a common way to raise money, it can also be a sign of fraud because it defers making required

  cash payments.” Id. According to Plaintiffs, “re-tapping [here] was an indicator of fraud because

  the Individual Wrongdoers repeatedly worked with Defendants to re-tap the notes for the purpose

  of paying existing debt on previously issued notes, instead of using money raised for legitimate

  investment or business purposes.” Id. ¶ 218. Based on the “nature, volume, and timing” of the re-

  taps, “Deutsche Bank should have understood these re-taps were intended to raise funds to pay

  interest on existing debt and/or to repay other notes previously issued by the Note Issuers.” Id.

  ¶ 224.

           Plaintiffs allege that “Deutsche Bank accepted quarterly interest payments late,” without

  explanation, id. ¶¶ 242, 257, and Deutsche Bank “did not provide the contractually required notice

  to Note Issuers and their director,” id. ¶ 239; see also id. ¶¶ 257-58. Moreover, “[t]he late note

  payments were numerous and persistent—another clear indicator of underlying fraud.” Id. ¶ 260.

  “Deutsche Bank repeatedly extended maturity dates, increased issue caps, and otherwise modified

  terms of the notes,” which “facilitated and perpetuated the fraud by allowing the Individual

  Wrongdoers additional avenues to avoid repaying investors with anything other than additional

  money borrowed from those same investors or new ones.” Id. ¶ 264.




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         Plaintiffs further allege that Defendants failed to adequately investigate Madison. Id. ¶ 277.

  Plaintiffs then detail how Deutsche Bank guided Madison on how to open unauthorized accounts,

  id. ¶¶ 291-308, and “Deutsche Bank knew of this activity, including information about hundreds

  of beneficiaries of improper wires from the custodial accounts, knowledge that a majority of those

  wires were not related to the activity in the accounts, and knowledge of persistent account

  overdrafts,” and yet “Deutsche Bank repeatedly looked away, perpetuating the fraud.” Id. ¶¶ 310-

  11. Deutsche Bank began investigating account activity concerning Madison but stopped after

  being told to do so by a Biscayne employee. Id. ¶¶ 312-17. As evidenced by emails, other

  “Deutsche Bank employees raised concerns about the activities in the Madison custody accounts.”

  Id. ¶ 318. Although Deutsche Bank Suisse closed some “problematic accounts,” the same accounts

  were transferred to another Deutsche Bank entity. Id. ¶¶ 337-38.

         In May 2016, the SEC entered a public order, finding that Biscayne and the Individual

  Wrongdoers violated securities laws. Id. ¶¶ 123, 349. “The order—issued against and with the

  consent of the Individual Wrongdoers—identified conflicts of interest among the Individual

  Wrongdoers, Biscayne, South Bay, and the Note Issuers.” Id. ¶ 350. “Further, the order indicated

  that there was insufficient revenue or operating cash to meet maturing debt.” Id. ¶ 351. The order

  triggered a review at Deutsche Bank, but Deutsche Bank continued perpetuating the scheme. Id.

  ¶¶ 129, 352. Defendants terminated their relationship with Biscayne, Madison, the Companies,

  and related entities in June 2017. Id. ¶ 130. Plaintiffs allege that if Deutsche Bank had reviewed

  their business with those entities earlier, it would have likely ended the fraud. Id. ¶ 132.

         Plaintiffs assert eight Counts:

             1. Count I: Fraudulent Trading under Cayman Islands Companies Law § 147 (by the

                 Liquidators on behalf of Diversified Real Estate, Global Market Step Up, Preferred




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                  Income, Sentinel Investment, SG Strategic, Sports Aficionados, and Vanguardia

                  Group against all Defendants);

              2. Count II: Aiding and Abetting Breach of Fiduciary Duty (against all Defendants);

              3. Count III: Breach of Fiduciary Duty (by the Liquidators on behalf of Diversified

                  Real Estate, Global Market Step Up, Preferred Income, and SG Strategic against

                  Deutsche Bank);

              4. Count IV: Aiding and Abetting Conversion (against all Defendants);

              5. Count V: Breach of Contract (by the Liquidators on behalf of Diversified Real

                  Estate, Global Market Step Up, Preferred Income, and SG Strategic against

                  Deutsche Bank);

              6. Count VI: Negligence (against Deutsche Bank);

              7. Count VII: Violation of the Florida Civil Remedies for Criminal Practices Act

                  (“Florida RICO Act”), Fla. Stat. §§ 772.101-772.19 (against all Defendants); and

              8. Count VIII: Violation of Florida’s Civil Remedy for Theft or Exploitation Statute

                  (“Florida Civil Theft Statute”), Fla. Stat. § 772.11 (against Deutsche Bank and

                  Deutsche Bank Trust Companies). Amend. Compl. ¶¶ 373-461. 9

          A. The Motions

          1. Defendants’ Motion

          Defendants move for summary judgment, raising seven primary arguments:

              1. Plaintiffs’ claims are barred by the in pari delicto doctrine because the Companies

                  were created and used to perpetuate the Ponzi scheme. ECF No. [143] at 1.




          9
            Plaintiffs do not specify in Count II, IV, VI, VII, and VIII on behalf of which Companies they are
  bringing those Counts.


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           2. Plaintiffs lack standing to assert their claims because Plaintiffs’ claims are premised

               “on the incorrect notion that [Plaintiffs] were entitled to funds in the custody

               account of a third party distinct from the Companies,” and because the Companies

               were instruments created solely to perpetuate the Ponzi scheme. Id. at 2.

           3. There is no genuine dispute of any material fact concerning Plaintiffs’ aiding and

               abetting claims (Counts II and IV) because the record lacks evidence that

               Defendants had actual knowledge of wrongdoing or provided substantial assistance

               to the Ponzi scheme. Id.

           4. There is no genuine dispute of any material fact concerning Plaintiffs’ Cayman

               Islands fraudulent trading claim (Count I). Id.

           5. There is no genuine dispute of any material fact regarding Defendants’ breach of

               the Agency Agreements (Count V) because Defendants were operating in an

               administrative capacity when Deutsche Bank executed instructions from the

               purported outside directors for certain note issuers and lacked the authority to

               substantively participate “in any activity relating to those notes.” Id.

           6. There is no genuine dispute of any material fact concerning the Defendants’ breach

               of any duty to the Companies (Counts III and VI) because Defendants had no

               knowledge of wrongdoing and thus had no duty to investigate the instructions that

               it received from the Companies as their clients. Id.

           7. The Court lacks personal jurisdiction over Deutsche Bank Lux and Deutsche Bank

               Suisse because these entities are located and operated entirely in Luxembourg and

               Switzerland. Id. at 3.

        Plaintiffs respond as follows.




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                1. Defendants cannot invoke the in pari delicto defense as a matter of law, and even

                    if Defendants could, fact questions exist about whether the adverse interest

                    exception bars the defense because the evidence shows (a) the Individual

                    Wrongdoers “loot[ed]” the Companies and (b) the existence of one “innocent

                    decision-maker,” SGG, which obviates the “sham” exception to the adverse

                    interest exception. ECF No. [161] at 12-15. 10 There is evidence that the Companies

                    conducted “some legitimate business activity,” which precludes a finding as a

                    matter of law that the Companies were sham entities. Id. at 15-16. Further, because

                    the in pari delicto defense applies only if a plaintiff is equally or more at fault than

                    a defendant, fact questions prevent summary judgment in favor of Defendants on

                    this defense. Id. at 16. Because the doctrine requires that the parties participate in

                    the same wrongdoing, the in pari delicto defense does not apply as to most

                    companies because there is no evidence that any Companies, save for one—as

                    opposed to the Individual Wrongdoers—participated in the Ponzi scheme, and

                    beneficial ownership does not qualify as wrongdoing. Id.

                2. Defendants conflate standing with in pari delicto and fail to meet their burden to

                    show Plaintiffs lack standing. Id. at 17-18. Moreover, whether the Companies

                    suffered a cognizable injury is a disputed factual question that precludes summary

                    judgment on standing. Id. at 19.

                3. The Defendants’ actual knowledge of and assistance to the Ponzi scheme are

                    questions of fact precluding summary judgment. Id. at 19-25.


           10
              When citing to the parties’ memoranda of law, the Court cites to the page numbers created by
   the parties. When citing to deposition transcripts, the Court cites to the page number of the underlying
   transcripts. For all other sources, the Court cites to the page number generated by the CM/ECF filing system,
   at the top of the page.


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               4. Defendants “indisputably breached the Agency Agreements” because, as

                   Defendants concede, Defendants were required to notify the Note Issuers’ directors

                   of any late payment yet failed to do so from at least January 2014 until November

                   2016. Id. at 25.

               5. As to Counts III and VI, there is no dispute that “Banks owe a duty to customers,”

                   or that the Note Issuers were Bank customers, and Defendants were the Note

                   Issuers’ agents and owed a duty to them. Id. at 26. In addition, under English law,

                   which governs the relationship between Deutsche Bank and the Note Issuers,

                   Defendants owe a duty to Note Issuers to guard against the facilitation of fraud and

                   not to execute transactions that result in misappropriation of Note Issuer funds. Id.

                   Moreover, Defendants do not genuinely dispute that a jury could find Defendants

                   should have known Madison was using its services to commit fraud. Id.

               6. Plaintiffs’ Cayman Islands Section 147 claim survives summary judgment because

                   that claim has a lower standard for liability than Plaintiffs’ Florida tort claims: the

                   “blind eye” knowledge standard. Id. at 27.

               7. Defendants should be estopped from raising the personal jurisdiction defense

                   because Deutsche Bank Lux and Deutsche Bank Suisse failed to provide discovery

                   in this action, and estopping Defendants from raising this defense is an appropriate

                   discovery sanction. Id. at 28-29.

          2. Plaintiffs’ Motion

          Plaintiffs seek summary judgment on Defendants’ twenty-first affirmative defense of in

   pari delicto, ECF No. [93] at 72, contending that its application would be inequitable and, thus,

   barred by Florida law. ECF No. [141] at 1. Alternatively, Plaintiffs contend that the in pari delicto




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   defense is unavailable under Cayman Islands law in cases brought under § 147 of the Cayman

   Islands Companies Act. Id. at 11-13.

            Defendants respond that Plaintiffs lack standing, and alternatively, Plaintiffs’ Motion is an

   untimely motion to strike. ECF No. [155]. On the merits, Defendants assert that Plaintiffs’

   arguments are legally unsupported and the Eleventh Circuit has rejected Plaintiffs’ public policy

   argument. Id.

            B. Material Facts

            Based on the parties’ statements, counterstatements, and reply statements of material facts,

   along with evidence in the record, the following facts are not genuinely in dispute unless otherwise

   noted.

      1. The Individual Wrongdoers

            Chatburn, Joan Carlos Cortes, Roberto Cortes, and Weisson masterminded a Ponzi scheme.

   Defs.’ SOMF ¶¶ 1, 2, ECF No. [144]; Pls.’ CSOMF ¶¶ 1, 2, ECF No. [159]. Around 1999, the

   Individual Wrongdoers formed South Bay, which purported to develop real estate in South Florida.

   Defs.’ SOMF ¶ 3; Pls.’ CSOMF ¶ 3. The Individual Wrongdoers formed Biscayne, which held

   itself out as an investment advisory firm. Defs.’ SOMF ¶ 4; Pls.’ CSOMF ¶ 4. The Individual

   Wrongdoers expanded their scheme by raising capital, including by creating a number of offshore

   SPVs, including the Note Issuers, to issue debt. Defs.’ SOMF ¶¶ 7, 8; Pls.’ CSOMF ¶¶ 7, 8. The

   Individual Wrongdoers formed or caused the formation of nearly 100 entities, which formed

   “complex offshore business structures” that “kept the scheme afloat” while also shielding the

   Individual Wrongdoers from liability. Defs.’ SOMF ¶ 9; Pls.’ CSOMF ¶ 9.

            2. Plaintiffs

            Plaintiffs are the Liquidators of the Companies in certain “foreign main proceeding[s]”

   who will distribute all recovery in this action pursuant to judicial oversight in those foreign main


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   proceedings. ECF No. [141-1] ¶¶ 2, 10. Prior to March 2018, Plaintiffs were not affiliated with

   and had no involvement with the Companies or the Individual Wrongdoers. Id. ¶¶ 6, 8-9.

          3. The Companies

          The Companies in this action are (1) Biscayne Capital (B.V.I.); (2) Biscayne Capital

   Holdings; (3) Diversified Real Estate; 11 (4) Global Market Step Up; (5) North Pointe; (6) Preferred

   Preferred Income; (7) Sentinel Investment; (8) Sentinel Mandate; (9) SG Strategic; (10) Sports

   Aficionados; (11) Spyglass; (12) Vanguardia Group; and (13) Vanguardia Holdings. Amend.

   Comp. ¶ 18. The Companies include the five Note Issuers. Defs.’ SOMF ¶ 15; Pls.’ CSOMF ¶ 15.

   Biscayne convinced investors to invest in South Bay’s development projects. Defs.’ SOMF ¶ 5;

   Pls.’ CSOMF ¶ 5. South Bay and its related entities were insolvent, and the Individual Wrongdoers

   used later investor funds to pay off earlier investors while enriching themselves from the scheme.

   Defs.’ SOMF ¶ 6; Pls.’ CSOMF ¶ 6.

          The Court briefly describes the Companies and their leadership prior to their insolvency.

                1. The Individual Wrongdoers raised capital for their scheme in different manners,

                    including by creating a number of offshore SPVs to issue debt, which include the

                    Note Issuers. Defs.’ SOMF ¶¶ 7, 8; Pls.’ CSOMF ¶¶ 7, 8. Among these SPVs is

                    Diversified Real Estate, a Note Issuer. Defs.’ SOMF ¶ 8; Pls.’s CSOMF ¶ 8.

                2. Global Market Step Up is a Note Issuer. Defs.’ SOMF ¶ 8; Pls.’s CSOMF ¶ 8.

                3. Preferred income is a Note Issuer. Defs.’ SOMF ¶ 8; Pls.’s CSOMF ¶ 8.

                4. Sentinel Investment is a Note Issuer. Defs.’ SOMF ¶ 8; Pls.’s CSOMF ¶ 8.

                5. SG Strategic is a Note Issuer. Defs.’ SOMF ¶ 8; Pls.’s CSOMF ¶ 8.




          11
               Diversified Real Estate was formerly known as ORC Senior Secured Ltd. Defs.’ SOMF ¶ 8.


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           6. Biscayne Capital Holdings was incorporated in Bermuda on July 30, 2012. Defs.’

              SOMF ¶ 18; Pls.’ SOMF ¶ 18. Biscayne Capital (B.V.I.) Ltd. and Biscayne Capital

              Holdings “owned” Biscayne Capital. Defs.’ SOMF ¶ 17; Pls.’ CSOMF ¶ 17.

              Roberto Carlos Rueda and Individual Wrongdoers Roberto Cortes, Weisson, and

              Juan Carlos Cortes were appointed directors on July 31, 2023. Defs.’ SOMF ¶ 18;

              Pls.’ CSOMF ¶ 18.

           7. Biscayne Capital (B.V.I.) was incorporated in the British Virgin Islands on August

              24, 2006. Defs.’ SOMF ¶ 19; Pls.’ CSOMF ¶ 19. As of December 11, 2013, Roberto

              Ivan Cortes and Individual Wrongdoers Juan Carlos Cortes, Roberto Cortes,

              Weisson, and Chatburn were Biscayne Capital (B.V.I.) Ltd.’s directors. Defs.’

              SOMF ¶ 19; Pls.’ CSOMF ¶ 19.

           8. Vanguardia Group Inc. was incorporated on April 21, 2015 in the Cayman Islands.

              Defs.’ SOMF ¶ 25; Pls.’ CSOMF ¶ 25. Weisson and Roberto Cortes each owned

              40% of Vanguardia Group Inc., and Juan Cortes owned 10%. Defs.’ SOMF ¶ 25;

              Pls.’ CSOMF ¶ 25.

           9. Spyglass was incorporated in the British Virgin Islands which perpetuated the

              Individual Wrongdoers’ scheme. Defs.’ SOMF ¶ 24; Pls.’ CSOMF ¶ 24. Spyglass

              was wholly owned by Vanguardia Group Inc. Defs.’ SOMF ¶ 24; Pls.’ CSOMF

              ¶ 24. The Individual Wrongdoers used Spyglass to purportedly act as an investment

              advisor for the Note Issuers. Defs.’ SOMF ¶ 24; Pls.’ CSOMF ¶ 24.

           10. Sentinel Mandate was incorporated in the British Virgin Islands on April 3, 2007.

              Defs.’ SOMF ¶ 21; Pls.’ CSOMF ¶ 21. As of June 17, 2014, Vanguardia Group Inc.

              wholly owned Sentinel Mandate. Defs.’ SOMF ¶ 21; Pls.’s CSOMF ¶ 21. As of




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                  February 5, 2014, Sentinel Mandate was the sole note holder of GMS Global Series

                  1. Defs.’ SOMF ¶ 21; Pls.’ CSOMF ¶ 21.

               11. Vanguardia Holdings Ltd. was incorporated in the British Virgin Islands on

                  February 1, 2016. Defs.’ SOMF ¶ 27; Pls.’ CSOMF ¶ 27. SGG was appointed

                  director of Vanguardia Holdings on February 1, 2016. Defs.’ SOMF ¶ 27; Pls.’

                  CSOMF ¶ 27.

               12. Sports Aficionados was incorporated in the Cayman Islands on March 8, 2016;

                  SGG acted as a director, and Trujillo was its ultimate beneficial owner. Defs.’

                  SOMF ¶ 23, Pls.’ CSOMF ¶ 23.

               13. North Pointe was incorporated in the British Virgin Islands on January 27, 2016.

                  Defs.’ SOMF ¶ 20, Pls.’ CSOMF ¶ 20. North Pointe was 100% owned by trustee

                  Amicorp (BVI) Trustees Ltd, and SGG was one of its directors. Defs.’ SOMF ¶ 20;

                  Pls.’ CSOMF ¶ 20.

          The Note Issuers participated in the Individual Wrongdoers’ scheme by transferring the

   money the Note Issuers raised from investors to South Bay, which then paid interest payments or

   repaid earlier investors, thereby disguising its financial troubles for nearly a decade. Amend.

   Compl. ¶¶ 88, 90, 91, 96. 12 In addition, Spyglass acted as an investment advisor for the Note

   issuers. Defs.’ SOMF ¶ 24; Pls.’ CSOMF ¶ 24.

          The interrelated structure of those entities allowed the Individual Wrongdoers to avoid

   independent audit opinions. Amend. Compl. ¶ 95.




          12
             The allegations in the Amended Complaint are judicial admissions that “bind the part[ies] who
   make[] them.” Chick-Fil-A, Inc. v. CFT Development, LLC, 652 F. Supp. 2d 1252, 1260 (M.D. Fla. 2009).
   As such, the Court considered the Amended Complaint’s allegations as undisputed facts for the purpose of
   adjudicating the Motions.


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          4. The Companies’ Business Activities

          The record evidence reflects that some of the entities formed in furtherance of the Ponzi

   Scheme engaged in bona fide business transactions. South Bay held title to several pieces of

   Florida real estate, see, e.g., ECF No. [158-11] at 2-12, 13-23, 24-34, 35-45, 46-67. Global Market

   Step Up traded in WTS Commerzbank AG securities, ECF No. [158-6] at 8, 9-10, 13-19, 28-29,

   54-63. Biscayne Capital (B.V.I.) traded Commerzbank AG securities on August 4, 2014 and traded

   Banco do Brasil securities in August 2014 and June 2015. ECF No. [158-1] at 8-10, 13-19, 54-63.

          5. SGG

          SGG was an independent director of North Pointe, Global Market Step Up, Sports

   Aficionados, Vanguardia Holdings, Diversified Real Estate, Preferred Income, Sentinel

   Investment, and SG Strategic. Defs.’ SOMF ¶¶ 20, 22, 23, 27, 56; Pls.’ CSOMF ¶¶ 20, 22, 23, 27,

   56. Hermann Oosten acted as agent on behalf of SGG. Pls.’ CSOMF ¶¶ 161, 163; Defs.’ RSOMF

   ¶¶ 161, 163, ECF No. [167]. SGG was responsible for overseeing the Note Issuers’ investment

   activities and the use of the proceeds. Defs.’ SOMF ¶¶ 56-58; Pls.’ CSOMF ¶¶ 56-58.

          SGG was aware that between 2010 and late 2013, and from November 2016 through 2017,

   Deutsche Bank London provided it and other Note Issuer Directors with notice of late payments

   “on multiple occasions.” Defs.’ SOMF ¶ 40; Pls.’ CSOMF ¶ 40. SGG, along with other Note Issuer

   directors, notified Deutsche Bank London that the Note issuers had effected “various transactions,”

   including swap transactions, re-taps, and “other amendments” to the terms of the notes that the

   Note Issuers issued. Defs.’ SOMF ¶ 44; Pls.’ CSOMF ¶ 44. On February 7, 2014, Oosten informed

   Paul Yetton (“Yetton”), a Deutsche Bank employee, that a swap transaction was executed that

   resulted in Sentinel Mandate becoming the note holder of the notes denominated GMS Global

   Market Step Up Series 1 (ISIN XS0707826185). ECF No. [146-50] at 3. Sentinel Mandate

   declared on March 20, 2014 that it has received payment to its full satisfaction on the notes, and


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   that “therefore the Paying Agent does not need to perform a cash payment of the principal and

   interest to the note holder.” Id. On May 19, 2015, Shurnalis Nersicio, an Assistant Account

   Manager at SGG, informed Yetton that a re-tap was executed that increased the number of issued

   notes associated with “ISIN XS0707825880” to $30,000,000.00. On August 8, 2017, Tara

   Cannegieter, a “Client Leader” at SGG, amended a “PIK table.” ECF No. [146-49] at 3.

           On March 20, 2017, Cannegieter attached wire instructions to an email addressed to Yetton

   and another Deutsche Bank employee to wire funds from a Madison subaccount to Deutsche Bank

   London. ECF No. [168-8] at 2. Those instructions were provided to cover payments due for

   Diversified Real Estate’s ORC Senior Secured Limited notes. Id.

           On June 22, 2017, Yetton emailed Cannegieter that “I believe the interest payment dates

   are all 20th June which has now passed. Advanced Fund Administration (Cayman) Ltd is the new

   Calculation Agent but I’ve not received the contact information from you yet despite asking a

   number of times.” ECF No. [168-7] at 3. On that same day, Oosten, replied, “[t]he interest

   payments on the notes are heavily depending on the sale of the underlying assets, in this case real

   estate in Florida.” Id. at 1. Oosten continued,

               A great effort is done to get this done but the reality is that it takes
               more time than anticipated. The PPM allows to skip interest
               payments until the cash flow from the sale of the property recovers.
               We can inform you with certainty that interest payments are not
               expected to take place for the current interest period.

   Id. at 2.

           On July 24, 2017, SGG drafted an Amendment to Diversified Real Estate’s Disclosure

   Concerning Terms of Payment, and Maturity, and Maximum Offering Amount for Global Notes

   Series 2 (“Amended Disclosure for Global Notes Series 2”), ECF No. [168-6] at 5, in which SGG

   acknowledged that the SEC issued a cease-and-desist order against Roberto Cortes, Weisson, Juan

   Carlos Cortes, and Chatburn, id. at 50. According to the Amended Disclosure for Global Notes


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   Series 2, Cortes, Weisson, Juan Carlos Cortes, and Chatburn neither admitted nor denied the SEC’s

   allegations concerning a violation of the Investment Advisors Act of 1940 13 for, among other

   things, failing to disclose beneficial ownership interests and South Bay’s failure to generate

   sufficient cash flow to meet maturing debt. Id.

          In the second half of 2017, Oosten directed inquiries regarding the Madison subaccounts

   to Defendants. Pls.’ CSOMF ¶ 164 (citing ECF Nos. [138-1] at 188); Defs.’ RSOMF ¶ 164. On

   December 6, 2017, Oosten wrote to Melisa Brandt, a person with a “vanguardiaholdings.com”

   domain email address, that he “would like to know why amounts are being transferred from the

   [Global Market Step Up] account 5094 to Madison Asset LLC and Atlantic Sky. As example I see

   a transfer of USD 1,000,000 from 5094 to Madison LLC in June 2016. Why is that?” ECF No.

   [158-7] at 2.

          On December 8, 2017, Oosten wrote to Yetton:

                Dear Paul, we are looking for cash account information regarding
                the following notes:

                Preferred Income . . .
                SG Strategic . . .
                SG Strategic . . .
                GMS Global . . .
                GMS Global . . .
                Diversified Real . . .
                Diversified Real . . .

                The cash accounts for these notes are in the name of Madison LLC
                and we would like to know who the signatories are on these
                accounts. On the accounts we see some cash movements that require
                more explanation but we do not know who to approach within
                Madison LLC. Can you please put me in contact with the account
                manager of the accounts?

   ECF No. [138-1] at 188; see also ECF No. [135-1] at 187:13-188:15.



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               15 U.S.C. § 80b-1 et seq.


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          On December 11, 2017, Oosten complained to Roberto Cortes:

              We as directors of the different companies are kept completely in
              the dark and do not get any answers/directions/documentation. We
              really try to perform our duties as expected from us but by not
              providing us with the requested information, our role as director is
              made impossible. Again, we urge all of you to provide us with the
              requested information and take responsibility.

   ECF No. [158-8] at 2.

          On October 13, 2017, Trujillo wrote to Oosten requesting that Oosten retroactively

   authorize Madison to provide clearing and custody services for the Note Issuers. ECF No. [158-9]

   at 56. On December 12, 2017, Oosten replied:

              Dear Gustavo, since the agreements between Madison LLC and the
              entities in your below email were never signed, we wonder how you
              could have provided clearing and custody services to these entities.
              What we saw as well is that the Note Programs do not have their
              own bank account at Deutsche Bank but they are all in the name of
              Madison LLC. Can you explain how you managed to do so without
              prior approval of the director(s) and the signed agreements?

              At this stage SGG cannot and will not sign any agreement with
              regards to outsourcing to third parties until all our questions are
              answered satisfactory.

   ECF No. [158-9] at 55.

          6. Defendants

          Deutsche Bank and its subsidiaries provided three types of financial services to individuals

   and entities connected to Biscayne: “U.S. custody services,” European trust and agency services,

   and wealth management services. Defs.’ SOMF ¶ 29; Pls.’ CSOMF ¶ 29.

          7. Terms of the Agency Agreements

          Between 2011 and August 2013, Note Issuers Diversified Real Estate, Global Market Step

   Up, Preferred Income, and SG Strategic entered into Agency Agreements with Deutsche Bank

   London and Deutsche Bank Lux. Defs.’ SOMF ¶ 31; Pls.’ CSOMF ¶ 31. Pursuant to the Agency



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   Agreements with GMS Global, Preferred Income, and SG Strategic, DB London acted as transfer

   agent, issuing agent, and paying agent for their note issuances, while DB Lux acted as registrar.

   Defs.’ SOMF ¶ 32; Pls.’ CSOMF ¶ 32. DB Lux held a “note register.” Defs.’ SOMF ¶ 47; Pls.’

   CSOMF ¶ 47. For Diversified Real Estate, Deutsche Bank London acted as issuing agent and

   paying agent, and Deutsche Bank Lux acted as registrar and transfer agent. Defs.’ SOMF ¶ 33;

   Pls.’ CSOMF ¶ 33.

          Pursuant to the Agency Agreements, DB Lux acted “solely as Agent of the Issuers.” Defs.’

   SOMF ¶ 49; Pls.’ CSOMF ¶ 49. The Agency Agreements describe DB Lux as “service provider[s]

   to” the Note Issuers. Defs.’ SOMF ¶ 55; Pls.’ CSOMF ¶ 55.

          8. Establishing Custody Accounts

          Critical to the alleged operation of the scheme was the Individual Wrongdoers’ use of

   custody accounts at Deutsche Bank, which enabled the Individual Wrongdoers to divert proceeds

   generated through the issuance of notes to, among other things, offset losses in real estate

   investments. Amend. Compl. ¶¶ 14, 101-07. The record shows that, in December 2011, Biscayne

   Uruguay, an entity controlled by the principals of Biscayne, opened a custody account with

   Deutsche Bank New York. Defs.’ SOMF ¶ 63; Pls.’ CSOMF ¶ 63. Pursuant to an agreement

   governing the custody account, Deutsche Bank New York would hold assets in the custody account

   for Biscayne Uruguay at the direction of the Individual Wrongdoers or their agents. Defs.’ SOMF

   ¶ 64; Pls.’ CSOMF ¶ 64. At the Individual Wrongdoers’ request, Biscayne Uruguay’s custody

   account was also divided into several subaccounts. Defs.’ SOMF ¶ 66; Pls.’ CSOMF ¶ 66.

   Subaccounts are a common tool that banks offer to their clients to allow them to organize or

   segregate assets as clients desire. Defs.’ SOMF ¶ 67; Pls.’ CSOMF ¶ 67.

          By 2012, the U.S. Security and Exchange Commission (“SEC”) had begun to investigate

   several of the entities that the Individual Wrongdoers created in furtherance of the Ponzi scheme.


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   Defs.’ SOMF ¶ 69; Pls.’ CSOMF ¶ 69. In 2014, the Biscayne principals created Madison in order

   to avoid regulatory scrutiny. Defs.’ SOMF ¶ 70; Pls.’ CSOMF ¶ 70.

          Deutsche Bank employee, Floris Vreedenburgh, met with representatives from Biscayne

   on February 21, 2014, to discuss the possibility of “opening separate acct under different name,

   same Biscayne Group, to segregate certain wire activity.” ECF No. [136-1] at 602. On February

   27, 2014, Vreedenburgh met with Fernando Haberer and Gustavo Trujillo to discuss “Happy with

   the US Custody service.” ECF No. [136-1] at 606. Vreedenburgh’s notes read:

              They are in expansion mode. Need to open separate account for
              Cayman domiciled subsidiary ‘Madison’ to segregate business
              currently processed under Biscayne Capital SA (Uruguay). Will
              want to establish sub accts to further segregate new business in the
              future, also under Madison. They also have an entity in Bahamas
              that they want to consolidate under their custody relationship in
              DBNY. Their requirements . . . Open account for Madison Asset
              LLC (excempted [sic] Registrered [sic] Advisor licensed in CIMA)
              and open subaccounts for each issuer[.]

   Id.

          It is disputed whether Vreedenburgh explained to Madison that if Madison’s name appeared

   as the account title’s first words, e.g., “Madison Asset LLC for [some other entity],” then “maybe

   [Madison or the entity] would not go through the same client on-boarding process as a new client.”

   ECF No. [134-1] at 83:11-86:12. None of Deutsche Bank’s written materials provided that

   information. Id. at 72:3-74:17; 80:17-20.

          Trujillo, Madison’s principal, opened a custody account for Madison with Deutsche Bank

   New York. Defs.’ SOMF ¶ 71; Pls.’ CSOMF ¶ 71. On April 9, 2014, one day after Madison’s

   request, the Deutsche Bank New York opened three subaccounts thereafter titled, “Madison Asset

   Custody & Clearing for ORC Senior Secured Ltd,” “Preferred Income Collateralized Interest

   Ltd.,” and “GMS Global Market Step Up Ltd.” Pls.’ CSOMF ¶ 121; Defs.’ RSOMF ¶ 121. Trujillo




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   set up other subaccounts and, in titling those accounts, Madison chose names that referenced other

   entities controlled by the Biscayne principals. Defs.’ SOMF ¶ 74; Pls.’ CSOMF ¶ 74.

           On July 9, 2014, a Deutsche Bank employee, Savitha Venkataramaiah, explained:

               CBU wanted to get our thoughts on the volumes flowing in from
               Institutional Margin team in the recent past and is the very reason
               for writing this email.

               It is with respect to requests flowing in only for Biscayne / Madison
               on a daily basis . We see a very huge spike in volumes especially for
               this particular customer . . . .

   ECF No. [136-1] at 608. Vreedenburgh forwarded this email. Id.

           9. Issues with Wire Transfers

           By 2016, it became apparent that there were significant problems with the wire transfers

   that Trujillo effected, including that such wire transfers led to overdrafts, resulting in overdraft fees

   for Deutsche Bank, and that some transfers had no connection to legitimate investment activity.

           In a chat message exchange on January 12, 2016, Vreedenburgh wrote to Scott Habura, a

   vice president of U.S. Custody at Deutsche Bank: “I corrected the biscayne invoice you sent

   Pamella – cells were shifted, payment instructions erased. Want me to send her [sic] revised

   version?” ECF No. [136-1] at 652. Habura replied: “sure . . . didn’t notice it . . . was too busy

   making money on ODs.” Id. Vreedenburgh replied: “I was wondering about that – at some point

   we need to stop gustavo in his tracks – it’s too obvious, and been going on for too long . . . maybe

   I can address in person when I see them in Bs and As? . . . we’ve given enough warnings[.]” Id.

           On January 19, 2016, Adrian Hevia, a senior operations analyst at Deutsche bank, wrote to

   Habura and Vreedenburgh:

               I wanted to inform you of some wires which we have received to
               pay out of the Biscayne Bahamas account which do not seem related
               to settlement activity.




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               The first wire is to pay a retainer with a law firm. The remaining 6
               wires are to individual employees of both Biscayne Uruguay and
               Madison Asset.

               Please advise if ok to process these wire payments.

               As a side note, today we received a total of 12 wires for Biscayne
               Bahamas and 13 wires for Madison.


   ECF No. [137-1] at 91. Habura replied: “OK to process these wires today. I will speak with

   Biscayne and find out what their plan is going forward.” Id. at 90. Patrick Hannon, a Deutsche

   Bank employee, wrote:

               Regarding Madison as a whole, it’s not just the volumes but the type
               of activity we see. In the last 18 months they have sent wires to over
               800 difference [sic] beneficiaries. To be clear, the vast majority of
               wire volume is unrelated to trading activity. This seems unusual (I
               pause to use the word suspicious) activity for a custody platform to
               process routinely.

               In my opinion, there should be some investigation and explanation
               for this activity. Additionally, although I realize they have a line of
               credit, they have a high occurrence of over draft items.

               We thought it prudent to escalate given the unique nature of the wire
               activity.

   Id. at 90. Habura replied: “I will raise this with the client and tell them that they need to curtail this

   type of activity. These type of wires should be run through a cash account and not a custody

   account.” Id.

           On February 18, 2016, Don Linford, the Director of Latin America Regional Executive

   Investor Services at Deutsche Bank S.A., wrote to Habura: “I believe we [sic] stop payments for

   this client immediately! I am concerned with the activity and their attitude.” ECF No. [136-1] at

   910. Habura replied, “I’ll communicate it to them immediately.” Id.

           Habura testified that on February 18, 2016, Habura wrote an email to Trujillo: “Gustavo,

   this issue has been flagged by our risk and compliance group and beginning today we can no longer


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   process these types of wires that are unrelated to your securities activities.” ECF No. [127-1] at

   57:10-14. On May 17, 2016, a bank employee identified “unusual” wire payments out of the

   Madison subaccounts that did not “appear to be settlement related activity,” including specifically

   “an American Express payment.” ECF No. [136-1] at 376. Habura forwarded the bank employee’s

   May 17, 2016 email to Trujillo explaining: “[f]yi . . . compliance will be stepping in and halting

   activity. Please re-direct these through your bank account.” Id.

          In July 2016, Habura recognized that one Madison wire for more than $30,000 went to pay

   for “[c]ollege tuition for one of the owners [sic] kids” at the University of Miami. ECF No. [137-

   1] at 108. In October 2016, Paul Bishop wrote an email to several Deutsche Bank employees,

   including Habura: “[t]here are competitors who would love to jump on the bandwagon that DB

   [sic] no longer viable and proven by the fact that we are kicking clients out.” ECF No. [136-1] at

   916-19. This was in response to an email discussing potentially “off boarding” “Biscayne Capital

   LTD, Bahamas,” “Biscayne Capital, Uruguay,” and “Madison Asset, LLC, Cayman.” Id. at 916-

   17.

          10. SEC Cease-and-Desist Order

          In May 2016, the SEC issued a Cease-and-Desist Order (“the “SEC Order”) detailing its

   finding that Biscayne and the Individual Wrongdoers had violated the federal securities laws.

   Defs.’ SOMF ¶ 102; Pls.’ CSOMF ¶ 102. The SEC found that Biscayne, Roberto Cortes, and Juan

   Carlos Cortes violated the Investment Advisors Act of 1940. ECF No. [136-1] at 328.

          11. Harm to the Companies

          Yetton testified that he calculated that the Note issuers owed their investors about $250

   million. ECF No. [135-1] at 191:13-195:4. On October 26, 2017, Yetton wrote to Oosten:

              Please find the amounts outstanding:
              Preferred Income XS0707825880 29,450,520
              SG Strategic XS0634222318 50,920,531


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              SG Strategic XS0634515331 25,390,576
              GMS Global XS0707826425 30,937,500
              GMS Global XS0707826854 42,090,345
              Diversified Real XS0967596734 55,890,000
              Diversified Real XS0906486757 16,645,216[.]

   ECF No. [138-1] at 205.

          12. Deutsche Bank Lux and Deutsche Bank Suisse

          DB Lux has its registered office in Kirchberg Plateau, Luxembourg, and its principal place

   of business is in Luxembourg. ECF No. [49-2] ¶ 2. DB Suisse is a bank domiciled in Geneva,

   Switzerland, with corporate offices in Geneva and Zurich, Switzerland. ECF No. [49-1] ¶ 2.

   II.    LEGAL STANDARD

          A party may obtain summary judgment “if the movant shows that there is no genuine

   dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

   Civ. P. 56(a). An issue is genuine if “a reasonable trier of fact could return judgment for the non-

   moving party.” Miccosukee Tribe of Indians of Fla. v. United States, 516 F.3d 1235, 1243 (11th

   Cir. 2008) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986)). A fact is

   material if it “might affect the outcome of the suit under the governing law.” Id. (quoting Anderson,

   477 U.S. at 247-48). The Court views the facts in the light most favorable to the non-moving party

   and draws all reasonable inferences in the non-moving party’s favor. See Davis v. Williams, 451

   F.3d 759, 763 (11th Cir. 2006). “The mere existence of a scintilla of evidence in support of the

   plaintiff’s position will be insufficient; there must be evidence on which a jury could reasonably

   find for the plaintiff.” Anderson, 477 U.S. at 252. Further, the Court does not weigh conflicting

   evidence. See Skop v. City of Atlanta, Ga., 485 F.3d 1130, 1140 (11th Cir. 2007) (quoting Carlin

   Comm’n, Inc. v. S. Bell Tel. & Tel. Co., 802 F.2d 1352, 1356 (11th Cir. 1986)).

          The moving party shoulders the initial burden of showing the absence of a genuine issue

   of material fact. Shiver v. Chertoff, 549 F.3d 1342, 1343 (11th Cir. 2008). Once this burden is


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   satisfied, “the nonmoving party ‘must do more than simply show that there is some metaphysical

   doubt as to the material facts.’” Ray v. Equifax Info. Servs., L.L.C., 327 F. App’x 819, 825 (11th

   Cir. 2009) (quoting Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586

   (1986)). Instead, “the non-moving party ‘must make a sufficient showing on each essential element

   of the case for which he has the burden of proof.’” Id. (quoting Celotex Corp. v. Catrett, 477 U.S.

   317, 322 (1986)). Accordingly, the non-moving party must produce evidence, going beyond the

   pleadings, and by its own affidavits, or by depositions, answers to interrogatories, and admissions

   on file, designating specific facts to suggest that a reasonable jury could find in the non-moving

   party’s favor. Shiver, 549 F.3d at 1343. Even “where the parties agree on the basic facts, but

   disagree about the factual inferences that should be drawn from those facts,” summary judgment

   may be inappropriate. Warrior Tombigbee Transp. Co., Inc. v. M/V Nan Fung, 695 F.2d 1294, 1296

   (11th Cir. 1983).

   III.      DISCUSSION

          A. Defendants’ Motion

             Defendants move for summary judgment on all Counts of the Amended Complaint,

   contending that Plaintiffs’ claims are barred by the doctrine of in pari delicto and Plaintiffs lack

   standing to bring their claims. Defendants also move for summary judgment on Count I

   (Fraudulent Trading under Cayman Islands Companies Law § 147), Count II (Aiding and Abetting

   Breach of Fiduciary Duty), Count III (Breach of Fiduciary Duty), Count IV (Aiding and Abetting

   Conversion), Count V (Breach of Contract), and Count VI (Negligence) on the grounds that there

   are no disputes of material fact. Finally, Defendants seek summary judgment on the Counts against

   Defendants Deutsche Bank Suisse and Deutsche Lux for lack of personal jurisdiction.




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      1. In Pari Delicto

          Defendants seek summary judgment on all Counts on the grounds that the doctrine of in

   pari delicto bars those claims. See generally ECF No. [143]. The Court begins by setting forth the

   law of the in pari delicto defense. The Court then addresses Defendants’ argument that the “adverse

   interest exception” to the in pari delicto defense is unavailable to Plaintiffs, and the argument that

   there is no dispute that Plaintiffs are equally or more culpable than Defendants.

              a. In Pari Delicto Defense Legal Standard

          The in pari delicto doctrine prevents “a plaintiff who has participated in wrongdoing from

   recovering damages resulting from the wrongdoing.” See Kipnis v. Bayerische Hypo-Und

   Vereinsbank, AG, No. 13-23998-CIV, 2017 WL 11103938, at *14 (S.D. Fla. June 26, 2017). The

   doctrine “operates to bar legal remedies when both parties are equally in the wrong . . . or where

   the plaintiff had greater responsibility for the wrongdoing than defendant.” Kipnis, 2017 WL

   11103938, at *14 (internal quotation marks omitted). Thus, the defense “does not require simply

   that both parties be to some degree wrongdoers. Rather, the parties must participate in the same

   wrongdoing” and must be “[e]qually at fault.” Earth Trades, Inc. v. T & G Corp., 108 So. 3d 580,

   583 (Fla. 2013) (alterations in original).

          However, if a corporate agent has “act[ed] adversely to the corporation’s interests,” the

   agent’s knowledge and misconduct are not imputed to the corporation. O’Halloran v.

   PricewaterhouseCoopers LLP, 969 So. 2d 1039, 1044-45 (Fla. 2nd DCA 2007) (citation omitted).

   An agent acts adversely to the corporation’s interests where the agent engages in misconduct that

   is “calculated to benefit the agent and to harm the corporation.” Id. at 1045. For example, “[w]here

   the misconduct at issue consists . . . in looting the corporation, the corporation—which is itself

   purely the victim of the misconduct—may properly invoke the adverse interest exception and

   defeat an in pari delicto defense.” Id. (citing Baena v. KPMG LLP, 453 F.3d 1, 7 (1st Cir. 2006)).


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   By contrast, where an agent’s acts are calculated to benefit the corporation, “it is in no position to

   invoke the adverse interest exception to prevent the imputation of wrongdoing to it.” In re Kapila,

   762 F. App’x 991, 994 (11th Cir. 2019) (quoting O’Hallaran, 969 So. 2d at 1045).

          In determining whether an agent’s acts are calculated to benefit the agent and to harm the

   corporation, it is necessary to determine whether the agent who engaged in wrongdoing is the

   “alter ego[]” of the corporation. O’Halloran, 969 So. 2d at 1045. In other words, where a

   corporation is “wholly dominated” by wrongdoers, the corporation itself has become “the

   instrument of wrongdoing.” Id. In this circumstance, the corporation, being a mere alter ego,

   “cannot be said to suffer injury from the scheme it perpetrated.” Id. at 1046. “Conversely, the

   presence of any innocent decision-maker in the management of a corporation can provide the basis

   for invoking the adverse interest exception, preventing the imputation of wrongdoing and defeating

   the use of the in pari delicto defense against the corporation.” O’Halloran, 969 So. 2d at 1045

   (citation omitted). An innocent decision-maker is one who could act to thwart the wrongdoing and

   did not knowingly and intentionally participate in the alleged misconduct. See Mukamal v. Bakes,

   No. 07-20793-CIV, 2008 WL 11391157, at *7 (S.D. Fla. May 20, 2008), aff’d, 378 F. App’x 890

   (11th Cir. 2010) (holding that where all directors and officers of corporation knowingly and

   intentionally participated in the alleged misconduct, there are no innocent decision-makers at the

   corporation).

              b. Adverse Interest Exception

          Defendants argue the adverse interest exception does not apply because the Individual

   Wrongdoers’ actions were not adverse to the Companies since the purpose of the fraud was to

   benefit the Companies, and since a company that is created to perpetuate a Ponzi scheme is not

   harmed by the scheme. ECF No. [143] at 12-14. Defendants also argue that the directors of the




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   Note Issuers were not “innocent decisionmakers,” so the adverse interest exception does not apply.

   Id. at 15-16.

           Plaintiffs respond that fact questions about the adverse interest exception preclude

   summary judgment. ECF No. [161] at 12. Specifically, Plaintiffs argue the record shows conduct

   adverse by the Individual Wrongdoers to the Companies, id. at 13, and a jury could find that SGG,

   an entity that served as a director of the Note Issuers, was innocent and ignorant of the fraud, which

   would prevent the application of in pari delicto, id. at 14-15. Plaintiffs also contend other evidence

   supports the conclusion that the Companies were not merely vehicles for fraud. Id. at 15-16. 14

           The adverse interest exception is only available to Plaintiffs in this case if the Companies

   were not “alter egos” of the Individual Wrongdoers, and this depends on the presence of “innocent

   decisionmakers” among the companies. Accordingly, the Court reviews the record to determine

   whether a reasonable factfinder could conclude there were innocent decisionmakers in this case.

                i.      Innocent Decisionmakers

           Defendants contend the Note Issuers’ Directors were not innocent decisionmakers.

   Specifically, Defendants point to record evidence that the Directors of the Note Issuers were aware

   of the Note Issuers’ repeated late payments to Deutsche Bank, participated in the misconduct by



           14
              Defendants raise for the first time in their Reply that the “sole actor rule” bars Plaintiffs’ claims
   even if the adverse interest exception to the in pari delicto defense applies because Trujillo, who was not a
   director of the Notes Issuers, was the sole actor charged with transferring proceeds from the Note Issuers
   to Madison. ECF No. [166] at 10-11. The “sole actor” doctrine applies only where a third party is defrauded
   by an agent acting in the course of his employment with a company. Nerbonne, N.V. v. Lake Bryan Int’l
   Properties, 685 So. 2d 1029, 1032 (Fla. 5th DCA 1997). It does not apply where the agent defrauds the
   corporation. Id. To the extent Trujillo acted as the Note Issuers’ agent, his management of the transfers to
   Madison (ECF No. [138-1] at 92, 96) defrauded the Note Issuers, not the notes investors directly, so the
   sole actor rule does not apply. Dehres LLC v. Underwriters at Int. at Lloyds London, 826 F. Supp. 2d 1338
   (S.D. Fla. 2011), the case on which Defendants rely, is not to the contrary. In Dehres, the “sole actor,” a
   jewelry wholesaler’s President, principal officer, and sole shareholder, acted as the wholesaler’s agent when
   he defrauded jewelry consignors, i.e., third parties to the principal-agent relationship there. Dehres LLC v.
   Underwriters at Int. at Lloyds London, 826 F. Supp. 2d 1338, 1348 (S.D. Fla. 2011). Thus, the sole actor
   rule does not apply here.


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   authorizing Defendants to effect swap transactions and re-taps, and facilitated improper

   amendments to the terms of the notes. ECF No. [143] at 15. Defendants also point to the Directors’

   belated resignation more than one year after Deutsche Bank terminated its relationship with the

   Note Issuers. Id. at 15-16.

          Plaintiffs respond that a factfinder could reasonably find that SGG, which served as

   Director of Sports Aficionados, Vanguardia Holdings, North Pointe, and the Note Issuers, was an

   innocent decisionmaker. Plaintiffs point to evidence that Oosten, on behalf of SGG, (1) raised

   inquiries about Madison subaccounts in the Note Issuers’ names, Pls.’ CSOMF ¶ 164, (2) refused

   Trujillo’s request that SGG retroactively authorize Madison to provide custody services for a Note

   Issuer, Pls.’ CSOMF ¶ 166, (3) questioned how Madison could have provided clearing and custody

   services to the Note Issuers or open subaccounts without the Note Issuers’ Directors’ approval or

   signed agreements, id. ¶ 167, and (4) questioned the Individual Wrongdoers on why “amounts

   [were] being transferred” to Madison from the subaccount ostensibly opened by Madison to

   provide services for Global Market Step Up, id. ¶ 168. ECF No. [161] at 14. Plaintiffs also point

   to evidence that the Individual Wrongdoers kept SGG “in the dark” on basic information about the

   Companies. ECF No. [161] at 14 (citing Pls.’ CSOMF ¶ 165). Further, Plaintiffs argue that on

   summary judgment, a factfinder could reasonably find that SGG’s resignation occurred later than

   Defendants because SGG was not aware of information Defendants had available to them. Id. at

   15.

          As the Court has explained, in analyzing the in pari delicto doctrine under Florida law, the

   presence of any innocent decision-maker in the management of a corporation can provide the basis

   for invoking the adverse interest exception, O’Halloran, 969 So. 2d at 1045, and an innocent

   decision-maker is one who could act to thwart the wrongdoing and did not knowingly and




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   intentionally participate in the alleged misconduct, see Mukamal v. Bakes, 2008 WL 11391157, at

   *7.

          As an initial matter, Plaintiffs identify no innocent decisionmakers at the five Companies

   in which SGG was not a corporate director: Biscayne Capital (B.V.I.), Biscayne Capital Holdings,

   Sentinel Mandate, Spyglass, and Vanguardia Group. As stated supra III.A.1., the Individual

   Wrongdoers created the Companies for the purpose of enabling and perpetuating the Ponzi scheme.

   Absent any evidence of an innocent decisionmaker, these Companies were mere instrumentalities

   of the Ponzi scheme. Under the reasoning in O’Hallaran, those entities cannot invoke the adverse

   interest exception.

          In contrast, as for the Note Issuers, the record supports a fact finder reasonably concluding

   that SGG was an innocent decisionmaker. To explain why, the Court restates the relevant evidence

   on the record.

          SGG was aware that the Note Issuers were making late payments to note investors between

   2010 and 2013, and from November 2016 through 2017. Defs.’ SOMF ¶ 40; Pls.’ CSOMF ¶ 40.

   SGG also voted to effect swap transactions, re-taps of notes, and amendments to note terms. Defs.’

   SOMF ¶ 44, Pls.’ CSOMF ¶ 44. In addition, in one email exchange, Oosten explained to Yetton

   that the late payments were attributable to delays in the sales of real estate in Florida, and that the

   investor disclosure for the notes allowed for skipping interest payments. ECF No. [168-1] at 3.

   SGG was also aware that the SEC issued a cease-and-desist order against Individual Wrongdoers

   for their failure to disclose beneficial ownership interests and for South Bay’s failure to generate

   sufficient cash flow to meet maturing debt. ECF No. [168-6] at 50. Moreover, by March 20, 2017,

   SGG was aware of the existence of Madison’s custody subaccounts based on its possession of wire

   instructions. ECF No. [168-1] at 1.




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          Those facts, in the light most favorable to Plaintiffs, support a finding that SGG believed

   that South Bay was struggling and that SGG sought to mitigate South Bay’s struggles selling real

   estate through acts calculated to mitigate discrepancies between South Bay’s debt obligations and

   South Bay’s real estate sales. There is no evidence that any note term amendments, re-taps, or swap

   transactions by themselves were illegal. In other words, those facts do not inexorably lead to the

   inference that SGG was knowingly participating in a Ponzi scheme. As for SGG’s knowledge of

   the SEC Cease-and-Desist Order, although that Order flags the Individual Wrongdoers’ failure to

   disclose conflicts, it does not support the inference that SGG was aware of the Individual

   Wrongdoers’ expansive Ponzi scheme.

          In addition, there are facts suggesting that the Individual Wrongdoers hid the Ponzi scheme

   from SGG. In emails from the period beginning in March 2017, Oosten asked Yetton and Trujillo

   questions about the management of the Madison subaccounts. Pls.’ CSOMF ¶ 164; Defs.’ RSOMF

   ¶ 164. Oosten refused to retroactively authorize Trujillo to provide clearing and custody services

   for the Note Issuers until Trujillo provided satisfactory answers to his questions about the

   subaccounts, an action that undermines the conclusion that SGG knew about the Ponzi scheme.

   ECF No. [158-9] at 55. Oosten’s frustration with being “kept completely in the dark” is evident in

   those communications. ECF No. [158-8] at 2. The record does not reflect that Oosten received

   fulsome answers to his inquiries. The evidence is consistent with Oosten being unaware of the

   Ponzi scheme.

          Those facts, when viewed in the light most favorable to the nonmovant, further support the

   conclusion that SGG was not a participant in the Ponzi scheme. In addition, as shown by Oosten’s

   refusal to retroactively approve the documents authorizing Trujillo to transact business on behalf

   of the Note Issuers through the Madison subaccounts, a fact finder could reasonably conclude that




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   SGG, as director of the Note Issuers, had the capacity to stop the Ponzi scheme had he known

   about it. Those facts distinguish the instant action from those cases on which Defendants rely

   where there was no evidence of a director or corporate officer who was not a participant in

   fraudulent conduct who could stop that conduct. Cf. Mukamal v. Bakes, No. 07-20793-CIV, 2008

   WL 11391157, at *7 (S.D. Fla. May 20, 2008), aff’d, 378 F. App’x 890 (11th Cir. 2010) (finding

   that all directors and officers of the entities were knowing participants in the misconduct); In re

   Kapila, 762 F. at 994 (plaintiff admitting that the corporation’s officers acted with intent to increase

   company profits when they overbilled on invoices). 15 As such, the record supports that SGG was

   an innocent decisionmaker.

                ii.    Whether Individual Wrongdoers’ Actions Were Adverse to
                       the Companies

           Defendants assert that Plaintiffs concede that the Individual Wrongdoers created the

   Companies for the singular purpose of perpetuating the Ponzi scheme. ECF No. [143] at 13 (citing

   Amend. Compl. ¶¶ 89-90 (alleging that the Individual Wrongdoers created the Note Issuers to

   allow the Individual Wrongdoers to cover the Individual Wrongdoers’ failures while perpetuating

   the scheme)). Defendants assert the Note Issuers had no legitimate business and their sole function

   was to raise capital for insolvent real estate companies. Amend. Compl. ¶ 73 (“the Individual

   Wrongdoers . . . began forming special purpose vehicles to raise additional capital”), ¶91 (“The

   Note Issuers played the same role in the scheme as the earlier special purpose vehicles. The Note

   Issuers transferred the money they raised from investors to South Bay. South Bay then paid interest

   payments or repaid earlier investors, thereby disguising its financial troubles.”). Therefore,



           15
             In addition, absent evidence that SGG possessed the same information as Defendants regarding
   the Individual Wrongdoers’ improper use of the Madison subaccounts, a reasonable jury could find that
   SGG lacked the information that Deutsche Bank possessed, thus finding that SGG had no knowledge of the
   Ponzi scheme.


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   Defendants argue that the adverse interest exception does not apply. Id. at 13. Defendants contend

   that a company created to perpetuate a Ponzi scheme can be harmed by the scheme and

   alternatively contend that the scheme was intended to benefit the Companies. Id. at 14-15.

             Plaintiffs respond that the adverse interest exception applies because the Companies were

   harmed by the Individual Wrongdoers being depleted of nearly $200 million of the Companies’

   assets and the Individual Wrongdoers, not the Companies, benefited from the scheme. ECF No.

   [161] at 13 (citing Pls.’ CSOMF ¶¶ 169-71). Plaintiffs further respond that deepening insolvency

   is “additional debt incurred” which is a recognized measure of damages. Id.

             As stated, where a corporate agent engages in misconduct that is calculated to benefit the

   agent and to harm the corporation, that agent acts adversely to the corporation’s interests.

   O’Halloran, 969 So. 2d at 1044-45. Conversely, where an agent’s acts are calculated to benefit the

   corporation, it is in no position to invoke the adverse interest exception. In re Kapila, 762 F. App’x

   at 994.

             The Court has determined that a genuine dispute exists as to whether Sports Aficionados,

   Vanguardia Holdings, North Pointe, and the Note Issuers were alter egos of the Individual

   Wrongdoers. As to those entities, the issue remains whether the Wrongdoers’ Ponzi scheme was

   calculated to benefit the Individual Wrongdoers and to harm the Companies. The record shows

   that Yetton testified that he calculated that the Note issuers owed their investors about $250 million.

   ECF No. [135-1] at 191:13-195:4; see also ECF No. [138-1] at 205 (Yetton calculating that a total

   of $251,324,688.00 in nominal value owed to note investors remained outstanding). In the light

   most favorable to the nonmovant, a factfinder could reasonably find that the approximately $250

   million that the Note Issuers owed to investors was diverted from the intended real estate projects

   to perpetuate the Ponzi scheme, thereby depriving the Note Issuers of capital. This finding supports




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   a conclusion that the Individual Wrongdoers “looted” the Note Issuers, supporting that Individual

   Wrongdoers actions were calculated to benefit the Individual Wrongdoers and to harm the Note

   Issuers’ interests. Liquidation Comm’n of Banco Intercontinental, S.A. v. Renta, 530 F.3d 1339,

   1344-45 (11th Cir. 2008) (affirming jury verdict that the series of transactions that corporate agent

   authorized “simply loot[ed]” the corporate debtor, adversely affecting the debtor’s interests). As

   such, there is a genuine dispute of fact as to whether the Individual Wrongdoers adversely affected

   the Note Issuers’ interests. Since the foregoing shows that the Individual Wrongdoers’ actions were

   calculated to harm the Note Issuers, Defendants’ argument that SGG’s presence as an innocent

   decisionmaker is irrelevant fails.

          However, the record does not contain evidence that the Ponzi scheme was calculated to

   harm the non-Note Issuer Companies for whom SGG served as Director. (Sports Aficionados,

   Vanguardia Holdings, North Pointe). Absent that evidence, those Companies cannot show that the

   scheme adversely affected their interests and, thus, the adverse interest exception is not available

   to the non-Note Issuer Companies. In re Kapila, 762 F. App’x at 994.

          Therefore, the following Companies may invoke the adverse interest exception to the in

   pari delicto defense: Diversified Real Estate, GMS Global Market Step Up, Preferred Income,

   Sentinel Investment, and SG Strategic. The following Companies may not invoke the adverse

   interest exception: Biscayne Capital (B.V.I.), Biscayne Capital Holdings, Sentinel Mandate,

   Spyglass, Vanguardia Group, Sports Aficionados, Vanguardia Holdings, and North Pointe.

              c. Culpability of the Companies

          Defendants argue that in pari delicto bars all Plaintiffs’ claims as a matter of law because

   the Companies were substantially more culpable as key drivers of the Ponzi scheme than

   Defendants. That is because (1) the Individual Wrongdoers used a web of offshore business

   structures to shield themselves from liability in connection with their fraud, ECF No. [143] at 10


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   (citing Amend. Compl. ¶ 73); (2) each of the Companies was beneficially owned and controlled

   by at least one of the Individual Wrongdoers, id. (citing Defs.’ SOMF ¶¶ 14-28; Amend. Compl.

   ¶ 75 (“Each special purpose vehicle was legally separate from Biscayne and South Bay but

   managed—and, in some cases, beneficially owned—by the Individual Wrongdoers”)); and (3) the

   Note Issuers could not have raised capital for a legitimate purpose when South Bay and its

   subsidiaries were insolvent and could only have done so to perpetuate the Ponzi scheme, ECF No.

   [143] at 10-11 (citing Amend. Compl.¶ 75 (“The Individual Wrongdoers caused the special

   purpose vehicles to prepare offering memoranda and raise capital by selling securities in the form

   of notes.”), ¶ 88 (“Beginning in 2010 the Individual Wrongdoers formed more special purpose

   vehicles—including a number of the Note Issuers—and caused them to issue new securities and

   raise funds in order to pay interest to legacy investors.”), ¶ 90 (“This allowed the Individual

   Wrongdoers to cover their failures while perpetuating the scheme.”), ¶ 91 (“The Note Issuers

   played the same role in the scheme as the earlier special purpose vehicles. The Note Issuers

   transferred the money the Note Issuers raised from investors to South Bay. South Bay then paid

   interest payments or repaid earlier investors, thereby disguising its financial troubles.”), and ¶ 96

   (“The fraud lasted for nearly a decade. Although the original real estate development effectively

   failed during the Great Recession, the Note Issuers were utilized to raise more money for years

   thereafter.”)); Defs.’ SOMF ¶¶ 102-103.

          In addition, Defendants assert the Non-Issuer Companies, such as Spyglass, actively

   participated in the fraud because Spyglass steered new investors “towards the scheme.” ECF No.

   [143] at 11 (citing Amend. Compl. ¶¶ 92 (“The Individual Wrongdoers also relied on another of

   the Companies they created—Spyglass—to perpetuate the scheme. Spyglass, incorporated in the

   BVI, purported to be an investment advisor much like Biscayne.”), ¶ 93 (“The Individual




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   Wrongdoers used Biscayne, Spyglass, and the Note Issuers to continually raise new money. These

   efforts concealed the failure of the real estate development and facilitated on-going

   misappropriation. The Individual Wrongdoers also used the notes to mask side deals and

   arrangements with preferred clients.”)), ¶ 95 (“Further, the interrelated structure of the various

   business entities allowed the Individual Wrongdoers to avoid independent audit opinions.”)).

          Plaintiffs respond that there is no evidence that the Companies engaged in any wrongdoing,

   much less wrongdoing in cooperation with Defendants. ECF No. [161] at 16. Plaintiffs also

   contend that relative fault is a fact-intensive question that precludes summary judgment. Id. at 16-

   17.

          The Court reiterates that a company cannot avail itself of the in pari delicto doctrine if it is

   an alter ego, or mere instrument, of a wrongdoer. O’Halloran, 969 So. 2d at 1045. Since there is

   a factual dispute whether the Companies for whom SGG was a director are alter egos, the Court

   first discusses whether those entites are in pari delicto, a separate question from whether the

   adverse interest exception to the in pari delicto doctrine applies. The Court then discusses whether

   the entities that are mere instrumentalities of the Individual Wrongdoers are in pari delicto.

          The record shows that Individual Wrongdoers masterminded a Ponzi scheme, forming

   South Bay and Biscayne. Defs.’ SOMF ¶¶ 2, 4, 5; Pls.’ CSOMF ¶ 2, 4, 5. The Individual

   Wrongdoers formed South Bay in furtherance of the scheme. Defs.’ SOMF ¶ 3; Pls.’ CSOMF ¶ 3.

   Biscayne “convinced investors to sink money into South Bay’s development projects.” Defs.’

   SOMF ¶ 5; Pls.’ CSOMF ¶ 5. The Individual Wrongdoers expanded their scheme by raising

   additional capital, including by creating SPVs, which include the Note Issuers. Defs.’ SOMF ¶¶ 7,

   8; Pls.’ CSOMF ¶¶ 7, 8.




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          Critically, the parties agree that the Note Issuers played a role in the Individual

   Wrongdoers’ scheme by transferring the money the Note Issuers raised from investors to South

   Bay, which then paid interest payments or repaid earlier investors, thereby disguising its financial

   troubles for nearly a decade. Defs.’ SOMF ¶¶ 2-9; Pls.’ CSOMF ¶¶ 2-9. In addition, Spyglass acted

   as an investment advisor for the Note issuers. Defs.’ SOMF ¶ 24; Pls.’ CSOMF ¶ 24. However,

   while the Notes Issuers and Spyglass’s active participation in the scheme is established, in order

   for a party to be in pari delicto, both parties must either be equally in the wrong or a plaintiff must

   have greater responsibility for the wrongdoing than a defendant. May v. Nygard Holdings Ltd., No.

   6:03CV1832-ORL-DAB, 2007 WL 2120269, at *4 (M.D. Fla. July 20, 2007). Defendants assert

   that Deutsch Bank was at most a passive participant in the Ponzi, but the record supports that

   Defendants actively assisted the Ponzi scheme by assisting Trujillo with titling the Madison

   custody subaccounts to avoid Deutsche Bank’s compliance procedures, ECF No. [134-1] at 83:11-

   86:12, and that Deutsche Bank processed wires to over 800 beneficiaries even when employees at

   Deutsche Bank raised concerns with Habura about whether it is proper to do so and were able to

   halt such transactions, ECF No. [137-1] at 90, 91. Given the evidence of wrongdoing by both

   Defendants and the Companies for whom SGG was a director (Sports Aficionados, Vanguardia

   Holdings, North Pointe, and the Note Issuers), a determination that the parties are in pari delicto

   requires a fact finder to weigh evidence of relative fault, an exercise in which the Court must not

   do on summary judgment. See May v. Nygard Holdings Ltd., No. 6:03CV1832-ORL-DAB, 2007




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   WL 2120269, at *4 (M.D. Fla. July 20, 2007) (declining to hold as a matter of law that the parties

   were in pari delicto where there was evidence of wrongdoing by both parties). 16

           As for the other Companies, the Court has determined that they are mere instrumentalities

   of the Individual Wrongdoers. Those entities which actively participated in the Ponzi scheme are

   in pari delicto. See Edwards, 437 F.3d at 1155 (finding entity that was active participant in scheme

   was in pari delicto with defendants). Because Spyglass actively participated in the scheme as the

   investment advisor for the Note Issuers, Spyglass is in pari delicto with Defendants and cannot

   pursue its claims under Florida law. As for the remaining entities, Defendants point to no evidence

   specifically implicating those Companies in the scheme. Absent such evidence, the Court cannot

   hold as a matter of law whether those entities are in pari delicto.

           Accordingly, the Court grants summary judgment on Defendants’ in pari delicto defense

   as to Spyglass but denies summary judgment as to the other Companies.

           2. Standing

           Defendants argue that Plaintiffs do not have standing to bring claims on behalf of the

   Companies because the Companies were instruments created solely to perpetuate the Ponzi

   scheme. ECF No. [143] at 16 (relying on Isaiah v. JP Morgan Chase Bank, 960 F.3d 1296 (11th

   Cir. 2020)). Defendants also argue that Plaintiffs lack standing to seek damages in connection with

   bank accounts that were established and controlled by Madison because Plaintiffs do not represent

   Madison and not entitled to assert any claims on its behalf. Id. at 17.



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              Defendants rely on Edwards to argue that the Companies had substantially equal responsibility
   for their injury, but that case is distinguishable on its allegations, in which the plaintiffs asserted the
   company in that case was the driver of the scheme. Edwards, 437 F.3d at 1155. The Amended Complaint
   alleges that the Individual Wrongdoers were the drivers of the Ponzi scheme here, and that the Companies
   were incorporated to shield the Individual Wrongdoers from liability. Amend. Compl. ¶ 73. Because the
   Individual Wrongdoers are the focus of the Amended Complaint, Edwards does not support that the
   Companies’ facilitation of the scheme makes those entities in pari delicto.


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           Plaintiffs respond that the Court should follow Edwards to find that Plaintiffs have standing

   to pursue their claims. ECF No. [161] at 17. Plaintiffs urge the Court to follow Edwards and not

   Isaiah because the Eleventh Circuit decided Edwards earlier and has not overruled Edwards. Id.

   at 18. Alternatively, Plaintiffs argue Isaiah was wrongly decided because Isaiah wrongly conflates

   standing and in pari delicto. Moreover, Plaintiffs argue that the Isaiah Court’s application of

   Freeman v. Dean Witter Reynolds, Inc., 865 So. 2d 543 (Fla. 2d DCA 2003), a case upon which

   the Isaiah Court relied, “does not go nearly as far as Isaiah or the Bank suggests.” ECF No. [161]

   at 17-18. 17 Plaintiffs further respond that record evidence shows that the Companies were not

   shams used exclusively for fraud and that there is a genuine dispute of fact as to whether the

   Companies had innocent decisionmakers. Id. at 19.

           Defendants reply that Edwards does not conflict with Isaiah and both cases support entry

   of summary judgment, that Isaiah controls as the more recent Eleventh Circuit precedent, and the

   prior panel precedent rule instructs the Eleventh Circuit, not district courts, and that the rule does

   not apply here. ECF No. [166] at 7-9.

           In Isaiah, a court-appointed receiver filed a complaint against a Bank in connection with

   its alleged enablement of a Ponzi scheme. The Ponzi scheme was orchestrated by the principals of

   the entities in receivership and the receiver sought damages for aiding and abetting the principals’

   breach of fiduciary duty, conversion, and fraud. Isaiah, 960 F.3d at 1300. The district court

   dismissed the complaint and the Eleventh Circuit requested supplemental briefing as to whether



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              Plaintiffs also argue that the Court should not look to Freeman, a Second District case, because
   this action was filed in Miami-Dade County, in Florida’s Third District. Id. at 18 (citing Bravo v. United
   States, 532 F.3d 1154, 1164 (11th Cir. 2008)). The Eleventh Circuit in Bravo faced conflicting decisions
   among the state appellate courts, so it decided to look to “the decisions of the Florida appellate court that
   would have had jurisdiction over an appeal in this case had it been filed in state court.” Bravo, 532 F.3d at
   1164. But this Court faces no such conflict here; Plaintiffs do not cite to legal authority within Florida’s
   Third District that conflicts with Freeman. As such, the Court considers Freeman.


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   the principals’ fraudulent acts were imputed to the receiver for purposes of his tort claims under

   Florida law. Id. at 1305. The Eleventh Circuit reviewed the Second District Court of Appeal’s

   decision in Freeman, which held that the receiver in that case lacked standing to pursue aiding and

   abetting claims against third parties because the entity in receivership itself could not pursue those

   claims. Id. at 1307. That was because the entity in Freeman was controlled exclusively by persons

   engaged in a fraudulent scheme and benefited from it and the entity lacked honest directors and

   shareholders who were harmed by the wrongdoer’s acts. Id. (citing Freeman, 865 So. 2d at 551).

          Isaiah held the alleged facts in that case were indistinguishable from Freeman, reasoning:

              The complaint itself shows that the Receivership Entities were
              wholly dominated by persons engaged in wrongdoing and is devoid
              of any allegation that the Receivership Entities engaged in any
              legitimate activities or had “at least one honest member of the board
              of directors or an innocent stockholder” such that the fraudulent acts
              of its principals, the Ponzi schemers, should not be imputed to the
              Entities themselves. At least on the basis of this complaint, the Ponzi
              schemers’ torts cannot properly be separated from the Receivership
              Entities, and the Receivership Entities cannot be said to have
              suffered any injury from the Ponzi scheme that the Entities
              themselves perpetrated. . . . Because Isaiah, as receiver, stands in the
              shoes of the Receivership Entities, he too lacks standing to bring
              these aiding and abetting claims against JPMC.

   Id. at 1307-08.

          Isaiah does not demand that summary judgment be granted here as to all Counts based on

   lack of standing. Isaiah reviewed the district court’s granting of a motion to dismiss and accepted

   as true the complaint’s factual allegations. Here, the Court on summary judgment reviews the

   record evidence to determine whether disputes of fact exist or whether a reasonably jury could find

   in the non-moving party’s favor, Shiver, 549 F.3d at 1343, and views those facts in the light most

   favorable to the non-moving party, drawing all reasonable inferences in the non-moving party’s

   favor, see Davis v. Williams, 451 F.3d 759, 763. Unlike in Isaiah, there are disputes of fact on

   whether SGG was an innocent decisionmaker as director of Sports Aficionados, Vanguardia


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   Holdings, North Pointe, and the Note Issuers. There are also disputes of fact on whether those

   Companies were wholly dominated by the Individual Wrongdoers.

          In addition, the record shows that South Bay held title to several pieces of Florida real

   estate, ECF No. [158-11] at 28-29, and that Global Market Step Up had trades in WTS

   Commerzbank AG securities, ECF No. [158-6] at 8, 9-10, 13-19, 28-29, 54-63. A fact finder could

   reasonably conclude from that evidence that not all the Companies’ business activities were

   illegitimate. As such, there is a genuine dispute as to whether the Individual Wrongdoers’ actions

   can be imputed to the Companies that had SGG as a director.

          However, Isaiah dictates that summary judgment is warranted on Plaintiffs’ claims as to

   those Companies where SGG did not serve as a director: Biscayne Capital (B.V.I.), Biscayne

   Capital Holdings, Sentinel Mandate, Spyglass, and Vanguardia Group. As the Court explained in

   its discussion on Plaintiffs’ in pari delicto defense, there is no evidence that those entities had

   identities that were separate and apart from the Individual Wrongdoers.

          Plaintiffs’ arguments to the contrary are unavailing. First, Isaiah did not conflate the in pari

   delicto doctrine with standing. To the contrary, Isaiah recognized the difference and rested its

   decision on standing grounds. See Isaiah, 960 F.3d at 1308 (“Like in Freeman, Isaiah’s ability to

   pursue these claims is barred not by the doctrine of in pari delicto, but by the fact that the

   Receivership Entities were controlled exclusively by persons engaging in and benefitting from the

   Ponzi scheme”) (emphasis added). Second, Edwards merely held that the bankruptcy trustee had

   standing under Section 541(a)(1) of the Bankruptcy Code based on the alleged injury to the debtor

   estate. Edwards, 437 F.3d at 1150. Edwards proceeded to analyze whether the trustee was subject

   to equitable defenses that could have been raised against the debtor. Id. It did not consider whether

   the trustee had standing under Florida law to assert Florida tort claims.




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           Accordingly, summary judgment is denied on the basis of standing as to Diversified Real

   Estate, Global Market Step Up, North Pointe, Preferred Income, Sentinel Investment, SG Strategic,

   Sports Aficionados, and Vanguardia Holdings. Summary Judgment is granted as to Biscayne

   Capital (B.V.I.), Biscayne Capital Holdings, Sentinel Mandate, Spyglass, and Vanguardia Group.

   In addition, because Plaintiffs did not respond to Defendants’ argument concerning their lack of

   standing to as to Madison, summary judgment is granted to the extent that Plaintiffs assert claims

   on behalf of Madison, a company Plaintiffs do not represent.

          3. Aiding and Abetting Conversion and Breach of Duty

          Defendants seek summary judgment on Counts II and IV for aiding and abetting a breach

   of fiduciary duty and for conversion against all Defendants. See generally Amend. Compl., ECF

   No. [31]. Defendants assert there is no dispute of material fact as to whether Defendants had

   knowledge of the Individual Wrongdoer’s misconduct, or as to whether Defendants substantially

   assisted them in that misconduct. ECF No. [143] at 17-18.

          Under Florida law, a plaintiff asserting a claim for aiding and abetting must show “(1) an

   underlying violation on the part of the primary wrongdoer; (2) knowledge of the underlying

   violation by the alleged aider and abettor; and (3) the rendering of substantial assistance in

   committing the wrongdoing by the alleged aider and abettor.” See Lawrence v. Bank of Am., N.A.,

   455 F. App’x 904, 906 (11th Cir. 2012) (citing AmeriFirst Bank v. Bomar, 757 F. Supp. 1365, 1380

   (S.D. Fla. 1991); ZP No. 54 Ltd. P’ship v. Fid. & Deposit Co. of Md., 917 So.2d 368, 372 (Fla. 5th

   DCA 2005)) (footnote omitted). Defendants assume arguendo that the Companies engaged in an




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   underlying breach of fiduciary duty. ECF No. [143] at 18 n.7. 18 The Court thus addresses only the

   knowledge and substantial assistance prongs in turn.

                a. Knowledge

           Defendants submit that liability for aiding and abetting requires proof of actual knowledge

   and that “mere suspicions” and “red flags” do not suffice. ECF No. [143] at 18. Specifically,

   Defendants submit that Deutsche Bank’s awareness of improper activity in the Madison custodial

   account and the publication of the SEC Order do not constitute actual knowledge. Id. at 18-19.

           Plaintiffs respond that actual knowledge may be established through circumstantial

   evidence, a corporation is charged with the cumulative knowledge of its several agents, and a

   corporation need only be generally aware of the improper activity to have actual knowledge. See

   generally ECF No. [161] at 19-23. Plaintiffs submit the evidence shows that Defendants failed to

   investigate red flags and then did nothing about the fraud after Deutsche Bank investigated and

   learned of the fraud. Plaintiffs add that the SEC Order was not the Bank’s only notice of

   wrongdoing, and Defendant’s argument that the Bank kept the Madison accounts open only

   because the FBI requested it do so is belied by evidence from April 2016 onward. Id. at 22-23.



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               Defendants argue in a footnote that Plaintiffs cannot prove an underlying conversion because
   Plaintiffs cannot claim a right to assets in Madison’s custody account and because Plaintiffs have not
   identified any demand for return from Madison. ECF No. [143] at 18 n.7. The Court rejects this argument.
   Under Florida law, “a conversion is an unauthorized act which deprives another of his property permanently
   or for an indefinite time.” Mayo v. Allen, 973 So. 2d 1257, 1258-59 (Fla. 1st DCA 2008) (citing Star Fruit
   Co. v. Eagle Lake Growers. Inc., 160 Fla. 130, 33 So. 2d 858 (Fla. 1948)). Demand and refusal are not
   necessary where a defendants’ original possession of the funds was unlawful. Mullenmaster v. Newbern,
   679 So. 2d 1186, 1887 (Fla. 4th DCA 1996) (concluding that demand was not required for conversion claim
   where defendants’ original possession of the disputed funds was unlawful). Because Defendants executed
   multiple requests to transfer notes issued by the Note Issuers to the custody of subaccounts controlled by
   Madison, ECF Nos. [158-4] ¶¶ 7-8, [158-12] at 2-11, and because those funds were transferred without the
   Note Issuers’ authorization, ECF No. [158-9] at 55, a factfinder could reasonably find that the Note Issuers
   had been indefinitely deprived of their property without their authorization. Under those circumstances,
   Florida law does not require a demand and refusal. Because Defendants rest their challenge to Count IV
   only on Plaintiffs’ inability to prove conversion, the Court denies summary judgment as to Count IV.



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          Defendants reply that Plaintiffs conflate allegations that establish an inference of actual

   knowledge with constructive knowledge, which is insufficient to establish actual knowledge. ECF

   No. [166] at 11-12. Defendants contend that the evidence does not show that Defendants’ internal

   escalations resulted in their concluding that the Madison account was used for unlawful or

   wrongful conduct. Id.

          As stated, aiding and abetting under Florida law has three elements: “(1) an underlying

   violation on the part of the primary wrongdoer; (2) knowledge of the underlying violation by the

   alleged aider and abettor; and (3) the rendering of substantial assistance in committing the

   wrongdoing by the alleged aider and abettor.” Perlman v. Wells Fargo Bank, N.A., 559 F. App’x

   988, 993 (11th Cir. 2014). When a bank is accused of aiding and abetting, a plaintiff must show

   that the bank had “actual knowledge.” Freeman v. JPMorgan Chase Bank N.A., 675 F. App’x 926,

   930 (11th Cir. 2017).

          A corporate agent’s knowledge may be imputed to a corporate entity unless the adverse

   interest exception applies, where the agent’s interests are entirely adverse to the corporate entity’s

   interests, meaning the agent’s actions must neither be intended to benefit the corporation nor

   actually cause short-term or long-term benefit to the corporation. Freeman, 675 F. App’x at 933

   (11th Cir. 2017); see also Chang v. JPMorgan Chase Bank, N.A., 845 F.3d 1087, 1095 (11th Cir.

   2017) (citing Beck v. Deloitte & Touche, 144 F.3d 732, 736 (11th Cir. 1998) (recognizing that under

   Florida law, knowledge of corporate officer is generally imputed to corporation)). Absent a

   showing that the entity actually knew of wrongdoing, an aiding and abetting claim is unsustainable.

   See Perlman v. Wells Fargo Bank, N.A., 559 F. App’x 988, 993 (11th Cir. 2014); see also Aetna

   Cas. & Sur. Co. v. Leahey Const. Co., 219 F.3d 519, 536 (6th Cir. 2000) (“We stress that the

   requirement is actual knowledge (which, again, may be proven by circumstantial evidence), and




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   therefore evidence establishing negligence, i.e., that a bank ‘should have known,’ will not suffice.”)

   (citation omitted).

          Here, the evidence supports that at least two bank employees had knowledge of the Ponzi

   scheme. On February 21, 2014, Vreedenburgh learned that Madison sought to open a custodial

   account with subaccounts in order to segregate wire activity for Madison’s purported customers.

   ECF No. [136-1] at 602-06. The parties dispute whether Vreedenburgh or someone else at

   Deutsche Bank instructed Madison on how to circumvent Deutsche Bank’s onboarding processes

   by coaching Madison on how to title the custody subaccounts. Pls.’ CSOMF ¶ 120; Defs.’ RSOMF

   ¶ 120; see also ECF No. [134-1] at 83:11-86:12. In any event, Trujillo opened a custody account

   on behalf of Madison with Deutsche Bank New York, Defs.’ SOMF ¶ 71; Pls.’ CSOF ¶ 71, and

   three of the Madison subaccounts were titled, respectively, “Madison Asset Custody & Clearing

   for ORC Senior Secured Ltd,” “Preferred Income Collateralized Interest Ltd.,” and “GMS Global

   Market Step Up Ltd.” Pls.’ CSOMF ¶ 121; Defs.’ RSOMF ¶ 121.

          On July 9, 2014, Vreedenburgh also learned from another Deutsche Bank employee that

   Deutsche Bank was seeing a “very huge spike in volumes” of wire transfers. ECF No. [136-1] at

   608. Roughly a year and half later, Vreedenburgh wrote to Habura that payment instructions on a

   Biscayne invoice were erased, and that “we need to stop [G]ustavo in his tracks – it’s too obvious,

   and been going on for too long.” ECF No. [136-1] at 652.

          Those facts may support the inference that Trujillo was running the Madison custodial

   account poorly or incompetently, and Vreedenburgh and others tolerated the late payments because

   Madison’s wire activity generated overdraft fees. In the light most favorable to Plaintiffs, however,

   those facts paint the portrait of someone who knew that the Madison subaccounts were being used




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   for improper purposes and helped the Individual Wrongdoers evade Deutsche Bank’s onboarding

   procedures.

          Record evidence establishes that Habura knew about fraudulent activity. Habura approved

   of how Madison’s late payments generated overdraft fees for the Bank. ECF No. [136-1] at 652.

   In addition, Habura received an email in which one of his colleagues explained that “kicking clients

   out” would redound to Deutsche Bank’s competitors benefit. ECF No. [136-1] at 916. This was in

   response to a discussion regarding potentially “off boarding” Biscayne Capital entities and

   Madison. Id. at 916-17. In addition, Habura was aware that many wire transfers had nothing to do

   with investment activity, but were related to payments to a law firm, individual employees of

   Madison and Biscayne Uruguay, approximately 800 different beneficiaries, and was aware of the

   high volume of wire transfers, credit card payments, and tuition payments. ECF Nos. [137-1] at

   90-91, [136-1] at 376, [137-1] at 108. At least three other employees expressed grave concerns

   about the Madison account activity. ECF Nos. [137-1] at 90-91, [136-1] at 376, [137-1] at 108.

   One employee intimated that the activity was suspicious, and a director of investment services at

   the Bank told Habura that “I believe we stop payment for this client immediately! I am concerned

   with the activity and the attitude.” ECF No. [136-1] at 910. Those warnings were serious enough

   that Habura told Trujillo in February 2016 that the Bank would stop processing wire transfers that

   were clearly not related to securities trading. ECF No. [127-1] at 57:10-14. Even so, Habura

   approved of at least one transaction that another employee thought was questionable. ECF Nos.

   [137-1] at 90.

          Those facts support a reasonable inference that Habura knew that the Madison custodial

   account was being used to personally enrich the Individual Wrongdoers and hesitated to stop the




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   activity in the Madison account because of the prospect of lost overdraft fees and advantages to

   competitors.

           The employees’ communications reflect evidence of troubling activity in a custodial

   account that went beyond red flags. As the Court explained, ECF No. [84] at 14, such email

   exchanges and communications between bank employees such as Vreedenburgh and Habura

   regarding the improper use of custodial accounts establish “a fact pattern that, if proven, a

   reasonable fact finder could view as sufficient to go beyond ‘red flags.’” Id. (citing Perlman, 559

   F. App’x at 996); Freeman v. JPMorgan Chase Bank N.A., 675 F. App’x 926, 933 (11th Cir. 2017)

   (holding that Bank had actual knowledge of theft of money from escrow account where vice

   president knew about theft). In addition, the foregoing shows that Vreedenburgh actively

   participated in the Ponzi scheme by assisting with labeling the custody account. See Chang v.

   JPMorgan Chase Bank, N.A., 845 F.3d 1087, 1097 (11th Cir. 2017) (plaintiff alleged that a bank

   vice-president labeled the primary wrongdoer’s bank account as an escrow account despite the

   wrongdoer’s failure to comply with the bank’s procedures for opening an escrow account).

           Moreover, the knowledge of those two bank employees may be imputed to Defendants

   because the adverse interest exception does not apply. Their actions of setting up the custodial

   account and approving transactions were intended to benefit Deutsche Bank and cause short-term

   benefit to Deutsche Bank because Deutsche Bank earned overdraft fees from this activity. As such,

   the record supports that Defendants had knowledge of the Individual Wrongdoers’ improper

   activity.

               b. Substantial Assistance

           “Substantial assistance occurs when a defendant affirmatively assists, helps conceal, or

   fails to act when required to do so, thereby enabling the [underlying violation] to occur.” Richter

   v. Wells Fargo Bank NA, No. 2:11-CV-695-FTM-29, 2015 WL 163086, at *3 (M.D. Fla. Jan. 13,


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   2015) (citation omitted). A defendant does not provide substantial assistance unless his action, or

   inaction, was a “substantial factor in causing the [underlying violation].” Id. (quoting In re Palm

   Beach Fin. Partners, L.P., 517 B.R. 310, 348 (Bankr. S.D. Fla.2013)) (alteration in original).

   Accordingly, where the amount of subsistence is minor in comparison to the massive scope of an

   overall fraudulent scheme, there is no substantial assistance. Id. To determine whether a defendant

   provided substantial assistance, courts examine a variety of factors including “the nature of the act

   encouraged, the amount of assistance given by the defendant, his presence or absence at the time

   of the tort, [and] his relation to the other and his state of mind.” Id. (quoting In re

   Temporomandibular Joint Implants, 113 F.3d 1484, 1495 (8th Cir. 1997)) (alteration in original).

          The evidence that Vreedenburgh assisted with titling the Madison subaccounts, and

   Habura’s approval of wire transfers associated with the Madison subaccounts supports a fact finder

   reasonably concluding that Vreedenburgh and Habura substantially assisted the Individual

   Wrongdoers’ scheme. Here, the nature of the act encouraged is a Ponzi scheme. When viewed in

   the light most favorable to Plaintiffs, the evidence supports that Vreedenburgh assisted the Ponzi

   scheme by advising Madison on how to set up Madison’s custodial account, and Habura

   affirmatively assisted the scheme by approving questionable wire transfers on January 19, 2016,

   ECF No. [137-1] at 90, 91, and on July 21, 2016, ECF No. [137-1] at 108. Further, given

   Vreedenburgh’s statement that “at some point we need to stop [Trujillo] in his tracks – it’s too

   obvious, and been going on for too long,” and given that Madison sent wires to over 800 different

   beneficiaries over an eighteen-month period, the facts further support that Habura and

   Vreedenburgh knew that Madison’s improper conduct was extensive in duration and frequency.

   The evidence supports that Habura had the ability to stop Trujillo, as evidenced by the instance on

   May 17, 2016 when Habura told Trujillo that “compliance will be stepping in and halting activity,”




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   ECF No. [137-1] at 376, yet chose not to, see ECF No. [137-1] at 108 (Habura recognizing a wire

   transfer was for college tuition for one of the Madison owner’s children). Because neither

   employee took steps to stop Madison’s trading activity when each knew that the activity was

   improper, and in view of their personal assistance, the amount of Deutsche Bank’s assistance to

   the Ponzi scheme was beyond trivial. Moreover, the Madison trading activity was

   contemporaneously executed with the employees’ involvement. Those employees were aware of

   the improper trading activity in the Madison account. Thus, the record supports that Deutsche Bank

   substantially assisted the Ponzi scheme.

          Those facts distinguish this case from Richter, where the bank performed a ministerial

   function, e.g., processing and cashing a $100,000.00 check, well after the conversion in that case

   occurred. There, the court determined that the bank’s failure to freeze the wrongdoers’ account

   after the conversion was “exceedingly minor” in the context of the scale of the fraudulent scheme.

   Richter, 2015 WL 163086, at *4. Here, by contrast, Vreedenburgh and Habura actively assisted

   the scheme while it was ongoing by assisting with titling the Madison subaccounts and by

   approving a wire transfer, and their inaction in stopping the Madison custody account trading

   activity was essential to the continuation of the Ponzi scheme.

          Given that the record supports that Vreedenburgh and Habura both knew of, and

   substantially assisted, the Individual Wrongdoers’ improper conduct, summary judgment is denied

   as to Counts II and IV.

          4. Cayman Islands Companies Act § 147

          Defendants seek summary judgment on Count I on the grounds that Defendants had no

   knowledge of any fraudulent conduct and did not assist the Companies in the Ponzi scheme. ECF

   No. [143] at 24. Plaintiffs respond that actual knowledge is not an element of a Cayman Islands

   Companies Act § 147 (“§ 147”) claim, such a claim has a lower, “blind eye” knowledge standard,


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   and that assistance to wrongdoers even in carrying out “bona fide business transactions” may result

   in liability. ECF No. [161] at 27. Plaintiffs also argue that there is a factual dispute as to Defendants’

   willful blindness, and Defendants participated in every aspect of the scheme. Id. at 27-28.

   Defendants reply that bona fide transactions are not sufficient to confer liability under § 147. ECF

   No. [166] at 14-15.

           Because this case requires the Court to consider foreign law, Rule 44.1 of the Federal Rules

   of Civil Procedure applies. Under Rule 44.1,

               A party who intends to raise an issue about a foreign country’s law
               must give notice by a pleading or other writing. In determining
               foreign law, the court may consider any relevant material or source,
               including testimony, whether or not submitted by a party or
               admissible under the Federal Rules of Evidence. The court’s
               determination must be treated as a ruling on a question of law.

   Fed. R. Civ. P. 44.1. Accordingly, this Court considers record evidence of the law of the Cayman

   Islands to determine whether Plaintiffs may sustain a § 147 claim. See Am. Pegasus SPC v. Clear

   Skies Holding Co., LLC, No. 1:13-CV-03035-ELR, 2015 WL 10891937, at *15 (N.D. Ga. Sept.

   22, 2015) (holding as a matter of law that the plaintiff’s Cayman Island’s Company Law § 146

   action may proceed).

           The parties agree that English cases on Section 213 of the English Insolvency Act of 1986

   (“§ 213”), a statute which is substantially identical to § 147, provides substantive guidance on the

   application of § 147. Defendants direct this Court to the case, Morris v. State Bank of India, [2003]

   EWHC 1868 (Ch) 736. In Morris, the High Court for England and Wales, Chancery Division

   (“High Court”), set forth the elements necessary to find liability under § 213 in Morris:




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              (1) that the business of the company in liquidation has been carried
              on with intent to defraud the creditors of the company or for any
              other fraudulent purpose; (2) that the defendant sought to be made
              liable . . . participated in the carrying on of the business of the
              company in that manner; and (3) that it did so knowingly: i.e. with
              knowledge that the transactions it was participating in were intended
              to defraud the creditors of the company or were in some other way
              fraudulent.

   Morris, [2003] EWHC 1868 (Ch) 736, 740. The High Court explained that elements (1) and (2)

   were not at issue, so it focused on the third element. Id. at 736. While the High Court dismissed

   the § 213 claim against the defendant, Morris provides limited guidance on how to apply § 147 to

   the facts here. However, Morris does provide the Court with guidance on the knowledge element

   of a § 147 claim. The High Court explained that the Liquidators in that case alleged that the

   defendant had “actual knowledge of, or was deliberately blind or recklessly indifferent to, the

   fraudulent nature of the transactions” at issue in that case. Id. Counsel for defendant agreed that

   defendant would be liable if it had actual knowledge or had “blind-eye knowledge.” Id. at 740-

   741.

          The record supports a fact finder reasonably concluding that Defendants had actual

   knowledge of the Ponzi scheme, which would satisfy § 147’s knowledge element. And since

   Defendants provide no legal support discussing the application of the participation prong of a §

   213 claim, Defendants do not meet their burden to show there is no dispute of material fact

   concerning the participation prong of § 147. The Court therefore denies Defendants’ Motion as to

   Count I.

          5. Compliance with the Agency Agreements

          Defendants move for summary judgment on Count V (Breach of Contract) against

   Deutsche Bank. Defendants contend the Plaintiffs are attempting to paint Deutsche Bank’s

   acceptance of late payments from the Note issuers as a breach of its duties under the Agency



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   Agreements. ECF No. [143] at 26. Between 2011 and August 2013, Note Issuers Diversified Real

   Estate, Global Market Step Up, Preferred Income, and SG Strategic entered into Agency

   Agreements with Deutsche Bank London and Deutsche Bank Lux. Defs.’ SOMF ¶ 31; Pls.’

   CSOMF ¶ 31. Defendants point to the language of the Agency Agreements to argue that the Agency

   Agreements imposed a duty on Deutsche Bank to inform the Note Issuers’ directors of late

   payments and that Deutsche Bank fulfilled this obligation by reporting on late payments on

   numerous occasions. Id. Defendants further contend that Deutsche Bank had no authority to refuse

   expressly authorized instructions from the Note Issuers or Directors pursuant to the Agency

   Agreements, such that the Bank’s acts following those instructions was not a breach of contract.

   Id. at 27.

            Plaintiffs respond that the Bank was required to notify the Note Issuers’ Directors of any

   late payment, and it failed to do so from at least January 2014 through November 2016. ECF No.

   [161] at 25. Defendants reply that the evidence that Plaintiffs cite in response shows the Bank had

   notified the Note Issuers’ Directors of late payments in June 2014 and November 2016. ECF No.

   [166] at 14.

           Defendants cite to no legal authority in support of their argument. Courts in this district

   have held that where a party cites no legal authority it is grounds itself to reject an argument. See,

   e.g., Goldberg for Jay Peak, Inc. v. Raymond James Fin., Inc., 16-21831-CIV, 2017 WL 7791564,

   at *7 (S.D. Fla. Mar. 27, 2017). The Court declines Defendants’ invitation to do its research on

   whether Defendants breached the Agency Agreements, so summary judgment is denied as to Count

   V.

           6. Duties Owed to the Companies

           Defendants move for summary judgment on Count III (Breach of Fiduciary Duty) and

   Count VI (Negligence). Defendants contend that Deutsche Bank did not owe a separate duty of


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   care to the Companies because it was not aware that Madison was misappropriating the

   Companies’ funds. ECF No. [143] at 27. Defendants argue there is no duty because Deutsche Bank

   had no knowledge of misconduct relating to the Madison account. Id. Defendants further submit

   that there were no duties owed to the Companies beyond the scope of the contracts it had with

   Biscayne and Madison. Id.

           There is a dispute of fact as to Deutsche Bank’s knowledge of misconduct relating to those

   accounts. See II.A.3.a., supra. For that reason, the fiduciary duties applicable to all Defendants are

   independent from the obligations imposed by the Agency Agreements. ECF No. [84] at 19. Such

   a duty would likewise be independent from Deutsche Bank’s contracts with Biscayne and Madison

   and, as such, summary judgment is denied as to Counts III and VI.

           7. Personal Jurisdiction

           Defendants argue the court lacks personal jurisdiction over DB Lux and DB Suisse in view

   of jurisdictional discovery showing that these entities are neither subject to general jurisdiction nor

   personal jurisdiction. 19

           In addressing whether personal jurisdiction over a nonresident Defendant exists, the Court

   must conduct a two-part inquiry. Sculptchair, Inc. v. Century Arts, Ltd., 94 F.3d 623 (11th Cir.


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              On February 20, 2022, the Court denied Defendants’ motion to stay jurisdictional discovery
   pending their motion to dismiss for failure to state a claim, ECF No. [40]. ECF No. [78]. The Court ordered
   Defendants to respond to jurisdictional discovery requests by March 8, 2022. Id. at 7. The magistrate judge
   further ordered Defendants to produce discovery documents by August 31. ECF No. [103]. Plaintiffs now
   argue Defendants defied the Court’s Order and never provided jurisdictional discovery and request that the
   Court sanction Defendants by asserting personal jurisdiction. ECF No. [161] at 28-29. Defendants do not
   deny that they did not produce all discovery that Plaintiffs sought but contend Plaintiffs ignore issues that
   purportedly prevented Defendants from doing so, including “bank secrecy issues,” and that Plaintiffs failed
   to produce waivers required to produce documents consistently with foreign law. ECF No. [166] at 15.
   Defendants contend that Plaintiffs’ request for sanctions, raised for the first time in its response to
   Defendants’ Motion, is improper. The Court agrees and declines to consider sanctions at this juncture.
   Posner v. Essex Ins. Co., 178 F.3d 1209, 1222 (11th Cir. 1999) (citing Fed. R. Civ. P. 7(b) (“application to
   the court for an order shall be by motion which . . . shall be made in writing, shall state with particularity
   the grounds therefor, and shall set forth the relief or order sought.”)).



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   1996). First, the Court must determine whether the applicable state statute governing personal

   jurisdiction is satisfied. Sculptchair, 94 F.3d at 626. Florida’s long-arm statute recognizes two

   kinds of personal jurisdiction over a nonresident defendant: general jurisdiction and specific

   jurisdiction. See Fla. Stat. §§ 48.193(1)-(2); see also easyGroup Ltd. v. Skyscanner, Inc., No. 20-

   20062-CIV, 2020 WL 5500695, at *6 (S.D. Fla. Sept. 11, 2020). The Eleventh Circuit has held that

   the reach of Florida’s long-arm statute is a question of state law, and federal courts must adhere to

   the statutory constructions offered by the Florida Supreme Court and Florida’s District Courts of

   Appeal. See Louis Vuitton Malletier, S.A. v. Mosseri, 736 F.3d 1339, 1352 (11th Cir. 2013). If the

   requirements of the long-arm statute are satisfied, under either general jurisdiction or specific

   jurisdiction, then the Court must consider the federal Due Process Clause. Future Tech. Today, Inc.

   v. OSF Healthcare Sys., 218 F.3d 1247, 1250-51 (11th Cir. 2000).

           The Court’s analysis of the Due Process Clause depends on three factors: (1) Defendant’s

   purposeful availment of the forum state; (2) the cause of action arising out of the activities of which

   the Defendant purposefully availed himself; and (3) reasonable foreseeability of the Defendant

   being haled into court in the forum state. See Future Tech., 218 F.3d at 1250-51 (citing Burger

   King Corp. v. Rudzewicz, 471 U.S. 462, 475 (1985)). In addition, the Court must determine whether

   exercising jurisdiction will comport with traditional notions of fair play and substantial justice,

   meaning the Court must balance: “(a) the burden on the defendant; (b) the forum state’s interest in

   adjudicating the dispute; (c) the Plaintiff’s interest in obtaining convenient and effective relief; (d)

   the interstate judicial system’s interest in obtaining the most efficient resolution of controversies;

   and (e) the shared interest of the several states in furthering fundamental substantial social

   policies.” Id. at 1251 (citing Burger King Corp., 471 U.S. at 466).




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               a. General jurisdiction

           Defendants argue that DB Lux maintains both its principal place of business and place of

   incorporation in Luxembourg, while DB Suisse maintains both its principal place of business and

   place of incorporation in Switzerland. ECF No. [143] at 28. In making this argument, Defendants

   rely on the Supreme Court’s decision in Daimler AG v. Bauman, 571 U.S. 117 (2014). Plaintiffs

   do not respond to this argument on the merits.

           In Daimler, Argentinian plaintiffs brought suit in a California court against a German

   corporation. Daimler AG, 571 U.S. at 117. Plaintiffs alleged that an Argentinian subsidiary of

   defendant collaborated with state security forces during Argentina’s 1976-1983 “Dirty War” to

   kidnap, detain, torture, and kill certain Argentinian workers. Id. The basis for personal jurisdiction

   over the defendant was defendant’s United States subsidiary and its indirect contacts with

   California. Id. at 119. Neither the defendant in Daimler nor its subsidiary was incorporated or had

   a principal place of business in California. Id. at 123. The defendant’s subsidiary was its sole

   United States distributor and it maintained multiple facilities in California. Id. The Supreme Court

   found that defendant’s contacts with California, even with the subsidiary’s contacts attributed to

   it, were insufficient for the purposes of establishing general jurisdiction. Id. at 124. But the Court

   made clear that a corporation is not “subject to general jurisdiction only in a forum where it is

   incorporated or has its principal place of business,” just that those places serve as “paradigm all-

   purpose forums.” Id. at 137 (emphasis in original). Citing the Goodyear standard, the Court again

   wrote, “[t]he inquiry . . . is whether that corporation’s ‘affiliations with the State are so “continuous

   and systematic” as to render [it] essentially at home in the forum State.’” Daimler AG, 571 U.S. at

   137 (quoting Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011)).

           Further, in Waite v. AII Acquisition Corporation, the Eleventh Circuit expanded on the

   contacts necessary to render a corporation “at home” in the forum state. Waite v. AII Acquisition


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   Corporation, 901 F.3d 1307 (11th Cir. 2018). When a Defendant’s state of incorporation and

   principal place of business are not in the forum state, the Court’s task is to decide whether the case

   is one of the exceptional cases in which general jurisdiction is still proper. Id. at 1317-18. “To

   make this decision, [the Court] must consider whether ‘the corporation’s activities in the forum

   closely approximate the activities that ordinarily characterize a corporation’s place of

   incorporation or principal place of business.’” Waite, 901 F.3d at 1318 (quoting Carmouche v.

   Tamborlee Mgmt., 789 F.3d 1201, 1205 (11th Cir. 2015)). In Waite, a plaintiff diagnosed with

   mesothelioma caused by asbestos exposure in Massachusetts later sued an asbestos manufacturer

   in Florida. Id. at 1310. Despite the facts that the defendant manufacturer was registered to do

   business in Florida, maintained an agent for service of process in Florida, hired a Florida

   distributor, had customers in Florida, and operated a plant in Brevard County, the court found it

   was not “at home” in Florida. Id. at 1318. The Court noted that, outside of a corporation’s place of

   incorporation and principal place of business, only a limited set of affiliations will be substantial

   enough to make the corporation at home in that State. Id. at 1317.

              The record shows that DB Lux has its registered office in Kirchberg Plateau, Luxembourg,

   and that its principal place of business is in Luxembourg. ECF No. [49-2] ¶ 2. The record also

   shows DB Suisse is a bank domiciled in Geneva, Switzerland, with its corporate offices in Geneva

   and Zurich, Switzerland. ECF No. [49-1] ¶ 2. The parties point to no other facts regarding contacts

   with the forum state. As such, the Court finds that DB Lux and DB Suisse are not “at home” in

   Florida, so these Defendants are not subject to general jurisdiction under Florida’s long-arm

   statute.

                 b. Specific Jurisdiction

              Defendants argue there is no evidence DB Lux participated in wrongdoing. ECF No. [143]

   at 29. Defendants argue that DB Suisse offered wealth management services to an entity later


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   associated with the Ponzi scheme, but that there is no evidence that it participated in the scheme.

   Moreover, Plaintiffs cannot demonstrate a connection between DB Suisse’s actions and the State

   of Florida. Id. at 29-30. Plaintiffs also do not respond to this argument on the merits.

           As relevant to Defendants’ Motion, under Section 48.193(1)(a) of the Florida Statutes, “[a]

   person . . . who . . . through an agent who does any of the acts enumerated in this subsection

   thereby submits himself or herself . . . to the jurisdiction of the courts of this state for any cause of

   action arising from any” of the enumerated acts. Fla. Stat. § 48.193(1). In relevant part, those acts

   include, “1. Operating, conducting, engaging in, or carrying on a business or business venture in

   this state or having an office or agency in this state[,]” or “2. Committing a tortious act within this

   state.” Id. The Court reviews the record to determine whether a factfinder could reasonably find

   DB Lux or DB Suisse committed any of these acts.

           According to the record, between 2011 and 2017, four of the five Note Issuers entered into

   Agency Agreements with DB Lux. Pls.’ CSOMF ¶ 31; ECF No. [159]. DB Lux held a “note

   register.” Id. ¶ 47. Pursuant to the Agency Agreements, DB Lux acted “solely as Agent of the

   Issuers.” Id. ¶ 49. The Agency Agreements describe DB Lux as a “service provider[] to” the Note

   Issuers. Id. ¶ 55. These facts do not establish a nexus with the State of Florida. Accordingly,

   Plaintiffs cannot satisfy the long-arm statute’s requirements.

           Therefore, the Court lacks personal jurisdiction over DB Lux and DB Suisse.

           B. Plaintiffs’ Motion

           Plaintiffs contend that Defendants cannot avail themselves of the in pari delicto defense

   under Florida law because the Florida Supreme Court would likely hold that the application of that

   defense against Plaintiffs would be inequitable. ECF No. [141] at 1. In addition, Plaintiffs submit

   that the in pari delicto defense remains unavailable to Defendants against Count I because




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   Plaintiffs’ § 147 claim is not subject to the defenses that Defendants could have brought against

   the Companies prior to liquidation. ECF No. [141] at 11-12.

          Defendants respond that Plaintiffs lack standing to bring their claims, so the Court need

   not reach the merits of Plaintiffs’ Motion. ECF No. [155] at 2-3. Defendants also respond that

   Plaintiffs’ Motion should be denied as an untimely motion to strike. Id. at 4-5. Defendants further

   respond that Plaintiffs’ argument is faulty because it misreads the Bankruptcy Code and relies on

   irrelevant legal authority or legal authority expressly rejected by the Eleventh Circuit. Id. at 1-2.

          Because the Court has addressed Defendants’ standing arguments in Defendants’ Motion,

   it does not address those arguments in Plaintiffs’ Motion. The Court considers Defendants’

   timeliness argument and then proceeds to consider the merits of Plaintiffs’ Motion.

          1. Defendants’ Procedural Argument

          Defendants argue that Plaintiffs forfeited the argument that the in pari delicto doctrine

   applies to them. ECF No. 155 at 3-4 (citing ECF No. [84] at 10 n.4). Specifically, Defendants

   contend that Plaintiffs conceded in opposing Defendants’ motion to dismiss, ECF No. [52], that

   the in pari delicto doctrine is applicable to this case. ECF No. [155] at 4. Defendants further argue

   that, under Federal Rule of Civil Procedure 12(f), a plaintiff must file a motion to strike either

   before responding to a pleading, or if a response is not allowed, within 21 days after being served

   with a pleading, and Plaintiffs did not seek to strike the defense after Defendants answered the

   Complaint and asserted its affirmative defenses. Id. Defendants conclude that because Plaintiffs

   cannot show good cause, Plaintiffs’ Motion should be denied. Id. at 5 (citing Centre Hill Courts

   Condominium Association, Inc. v. Rockhill Insurance Co., No. 19-cv-80111-BFB, 2020 WL

   442467, at *8-9 (S.D. Fla. Jan. 28, 2020)).

          Plaintiffs respond that Rule 12 of the Federal Rules of Civil Procedure does not require a

   party to attack a legally invalid defense through a motion to strike, and Rule 56 expressly allows


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   a party to move for summary judgment on any defense. ECF No. [170] at 3-4. Plaintiffs also

   respond that Eleventh Circuit precedent disfavors attacking defenses through a motion to strike

   where that defense is subject to a substantial legal dispute. Id. at 4. Plaintiffs point out that this

   Court in Centre Hill considered the merits of the motion for summary judgment in that case. Id. at

   4. Plaintiffs further contend that the case on which Center Hill relied, Andreu v. Hewlett-Packard

   Co., No. 15-23270-CIV, 2016 WL 1697088 (S.D. Fla. Apr. 20, 2016), denied a motion for summary

   judgment where that motion cited to Rule 12(f) and associated case law and did not follow

   procedural rules governing summary judgment motions. Id. at 4-5 (citing Andreu v. Hewlett-

   Packard Co., No. 15-23270-CIV, 2016 WL 1697088, at *4 (S.D. Fla. Apr. 20, 2016)).

           The Court reiterates the procedural requirements of Rule 56 because these are essential to

   addressing Defendants’ procedural challenge. Under that Rule, “[a] [movant] may move for

   summary judgment, identifying each . . . defense . . . on which summary judgment is sought,” and

   the “court shall grant summary judgment if the movant shows there is no genuine dispute as to any

   material fact and the movant is entitled to judgment as a matter of law.” See Fed. R. Civ. P. 56(a).

   In making this showing, the movant “asserting that a fact cannot be or is genuinely disputed must

   support the assertion by . . . citing to particular parts of materials in the record[.]” See Fed. R. Civ.

   P. 56(c)(1).

           Plaintiffs move for summary judgment on Defendants’ in pari delicto defense on the

   grounds that there is no genuine dispute that Defendants may avail themselves of this affirmative

   defense. Specifically, Plaintiffs contend that the application of in pari delicto would be inequitable,

   and this unfairness precludes its application. Plaintiffs argue that it is both Congress and the Florida

   Legislature’s policy judgment that foreign liquidators should be allowed to pursue claims like those

   here and applying in pari delicto would frustrate that policy. ECF No. [141] at 8-9. Plaintiffs also




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   support their contention that applying in pari delicto doctrine would be inequitable because

   Plaintiffs as Liquidators are pursuing claims on behalf of “innocent creditors[]” and preventing

   Plaintiffs from doing so “would produce inequitable results.” Id. at 10-11. Plaintiffs point out they

   are the Liquidators of the Companies in certain “foreign main proceeding[s]” who will distribute

   all recovery in this action pursuant to judicial oversight in those foreign main proceedings, and

   Plaintiffs were not previously involved with the Companies or the Individual Wrongdoers. ECF

   No. [141-1] ¶¶ 1-3, 6, 8-10. Accordingly, the Court finds that Plaintiffs have complied with the

   procedural requirements of Rule 56(c)(1) of the Federal Rules of Civil Procedure. Having done

   so, Plaintiffs’ Motion is distinguishable from the plaintiff’s motion in Andreu where that plaintiff

   made no attempt to support its motion with a statement or material facts or with citations to the

   record. Andreu, 2016 WL 1697088, at *4 (S.D. Fla. Apr. 20, 2016). For this reason, the Court

   proceeds to consider the merits of Plaintiffs’ Motion.

          2. 11 U.S.C. § 541

          The parties agree that 11 U.S.C. § 541 does not apply to proceedings that arise from Chapter

   15 of the Bankruptcy Code. ECF No. [141] at 3; ECF No. [155] at 6. The parties also agree that

   Chapter 15 governs this action. ECF No. [141] at 4; see ECF No. [155] at 5-7. However, Plaintiffs

   argue that “where § 541 does not apply, neither the Bankruptcy Code nor any other source of law

   requires applying the in pari delicto defense. Thus, this Court is not bound to apply it,” meaning

   that the Court should not apply the in pari delicto defense. ECF No. [141] at 6.

          Defendants respond that Plaintiffs’ conclusion is a “logical leap” that is unsupported by

   legal authority. ECF No. [155] at 6. Relying on In re ICP Strategic Credit Income Fund Ltd, 2015

   WL 5404880 (Bankr. S.D.N.Y. Sept. 15, 2015), Defendants argue that Chapter 15 does not imbue

   foreign liquidators with greater rights than the debtor itself. ECF No. [155] at 7-8.




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           Plaintiffs respond that Florida law governs what defenses are available regarding Plaintiffs’

   claims brought under Florida law, so ICP Strategic, which applies New York law, does not apply

   here.

           Section 541 provides in the relevant part,

              The commencement of a case under section 301, 302, or 303 of this
              title creates an estate. Such estate is comprised of all the following
              property, wherever located and by whomever held: (1) Except as
              provided in subsections (b) and (c)(2) of this section, all legal or
              equitable interests of the debtor in property as of the commencement
              of the case.”

   11 U.S.C. § 541 (emphasis added). The legal or equitable interests in Section 541 are property of

   the estate and include any claim the debtor could have brought outside of bankruptcy at the time

   the case was commenced. In re Gosman, No. 01-30953-BKC-SHF, 2007 WL 776262, at *2 (Bankr.

   S.D. Fla. Mar. 9, 2007), aff’d, 382 B.R. 826 (S.D. Fla. 2007). Those claims are subject to the

   defense of in pari delicto if those claims, if asserted by the debtor, would have been subject to an

   in pari delicto defense. Edwards, 437 F.3d at 1149-50.

           Plaintiffs urge the Court to find significance in the absence of a provision that is analogous

   to Section 541 under Chapter 15 of the Bankruptcy Code. In ICP Strategic, the court explained

   that state law applied to the claims of the liquidators because, regardless of whether an “estate”

   has come into being, the liquidators still act as successors to the liquidated companies. In re ICP

   Strategic, 2015 WL 5404880, at *18 n.118 (Bankr. S.D.N.Y. Sept. 15, 2015). In other words,

   Florida law, not the Bankruptcy Code, dictates whether in pari delicto is available to Defendants.

   Plaintiffs agree. ECF No. [170] at 6 (“Florida law governs what defenses are available against the

   Liquidators’ claims brought under Florida law.”). As such, the Court rejects that the Bankruptcy

   Code requires the preclusion of in pari delicto here. The Court rejects Plaintiffs’ argument for the

   additional reason that it is illogical. If a provision of the Bankruptcy code applicable in a given



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   case provides that a court must allow an equitable defense under state law, it does not follow,

   without support in the case law, that the inapplicability of that provision to a case means a court

   must not allow that defense. The Court thus proceeds to Plaintiffs’ other arguments.

           3. In Pari Delicto Doctrine’s Equitable Purpose

           Plaintiff next argues that because nothing requires applying in pari delicto and its

   application would frustrate the doctrine’s purpose, this Court should decline to apply it. The

   argument may be subdivided into two parts. First, Plaintiffs argue the Florida Supreme Court has

   held that a defendant is not entitled to assert the in pari delicto defense where its application would

   violate legislatively declared policy. ECF No. [141] at 7 (citing Earth Trades, 108 So. 3d at 584).

   Second, Plaintiffs assert that in pari delicto is an unavailable defense here because its application

   is not in the public interest.

                a. Legislative Policy

           Plaintiffs specifically contend that the legislative policy relevant to this action includes

   Congress’s judgment that foreign liquidators should not be subject to mandatory application of

   pre-petition defenses like in pari delicto. Id. at 8. 20 Plaintiffs also stress that Florida legislative

   policy is for there to be a “‘full reporting to creditors and equal distribution of assets according to’

   established priorities” in state law proceedings involving creditor claims. ECF No. [141] at 9

   (quoting Fla. Stat. § 727.101).

           Defendants respond that Earth Trades held that the Florida Legislature had clearly

   allocated fault to unlicensed contractors in the statute at issue there and, as a result, the

   subcontractor that sought to assert the in pari delicto defense against a general contractor could



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             Because the Court has determined that 11 U.S.C. § 541 does not provide substantive guidance
   concerning the availability of the in pari delicto defense in Chapter 15 Bankruptcy cases, it does not revisit
   this argument.


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   not do so. ECF No. [155] at 9. Defendants also argue that Earth Trades did not endorse applying

   legislative policy to bar equitable defenses. Id. at 10.

          Plaintiffs reply that Earth Trades stands for the proposition that where Florida’s statutorily

   expressed policy precludes the assertion of an equitable defense, that defense is unavailable as a

   matter of law. ECF No. [170] at 9. Plaintiffs further reply that Section 727.108(1)(b) of the Florida

   Statutes similarly expresses a policy to preclude the in pari delicto defense in cases like this one

   where Liquidators seek to consolidate assets for the benefit of the Companies’ creditors. Id. at 10.

          The parties disagree on the significance of Earth Trades to this case, and an analysis is

   warranted. In Earth Trades, an unlicensed subcontractor brought breach of contract claims against

   a general contractor. Earth Trades, 108 So. 3d at 581. The general contractor counterclaimed for

   breach of contract. Id. The general contractor argued that the subcontractor’s claim was barred

   under Section 489.128 of the Florida Statutes. Id. at 582. The subcontractor sought to assert the in

   pari delicto defense against the general contractor’s counterclaim on the basis that the general

   contractor was equally at fault because it knew the subcontractor was unlicensed. Id.

          The Florida Supreme Court reviewed Section 149.128 and concluded that “as a matter of

   state policy, the Legislature has imposed a substantial penalty on the unlicensed contractor as the

   wrongdoer with regard to a construction contract.” Id. at 586. The Florida Supreme Court

   explained that “the applicable statute has clearly placed the onus of unlicensed contracting on the

   unlicensed contractor and that the in pari delicto doctrine did not preclude [the general contractor]

   from enforcing the contract.” Id. Moreover, “[the general contractor’s] alleged knowledge of [the

   subcontractor’s] licensure status, if proven, would make both parties wrongdoers, but they would

   not share substantially equal fault” because in amended Section 489.128, the Legislature had, “as

   a matter of state policy, greatly disadvantaged the contractor who chooses not to obtain the legally




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   required license.” Id. at 586. Accordingly, the Florida Supreme Court determined that where

   Section 489.128 applies, “a party’s knowledge that a contractor is unlicensed is insufficient as a

   matter of law to establish the defense of in pari delicto.” Id. at 587.

          By their own concession, Plaintiffs are not asserting any claims arising from a transaction

   or occurrence subject to Section 727.108. Rather, Plaintiffs contend that the legislative policy

   judgment evinced by that section attaches to any claims brought by a third party seeking to assert

   a claim that an insolvent entity could have brought. This contention misreads Earth Trades, which

   does not stand for the general principle that the in pari delicto defense is unavailable against

   plaintiffs asserting claims to the benefit of creditors. Earth Trades expressly limited its holding to

   claims brought under the statute at issue in that case. At least one state court is in accord. See Brock

   v. Garner Window & Door Sales, Inc., 187 So. 3d 294, 296 (Fla. 5th DCA 2016) (explaining that

   Earth Trades addressed the question of whether an unlicensed contractor could enforce a contract,

   notwithstanding Section 489.128). Nothing in § 489.128 or Earth Trades precludes a defendant

   from asserting the in pari delicto defense in the circumstances of this case. Without any other

   supporting legal authority for this argument, Plaintiffs have not met their burden to show that in

   pari delicto is an unavailable defense on grounds of legislative policy.

               b. Public Interest

          Plaintiffs assert that Liquidators were appointed to marshal assets and recover on behalf of

   the Companies in order to distribute funds to the Companies’ creditors. ECF No. [141] at 9-10.

   Plaintiffs argue their task serves “[a]n important public purpose,” and therefore in pari delicto is

   unavailable as a matter of law. Id. at 10 citing (In re Fuzion Techs. Grp., Inc., 332 B.R. 225, 232-

   36 (Bankr. S.D. Fla. 2005)). Plaintiffs cite other legal support for the proposition that the Florida

   Supreme Court would bar the in pari delicto defense here on the same grounds. See ECF No. [141]

   at 10-11.


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            Defendants respond that Fuzion has been overruled by the Eleventh Circuit and the

   Eleventh Circuit expressly rejected Plaintiffs’ argument on the grounds that creditors may pursue

   their own claims without the aid of individuals like the Liquidators. ECF No. [155] at 11-12.

   Defendants also respond that the other legal authority on which Plaintiffs rely is distinguishable.

   Id. at 12-13.

            Plaintiffs reply that although Edwards overruled Fuzion’s holding that in pari delicto was

   unavailable in § 541 cases, Edwards did not disapprove of Fuzion’s reasoning, which should be

   considered for its persuasive authority. ECF No. [170] at 9-10. Plaintiffs also reply that Defendants

   have failed to show why the other legal authority on which Plaintiffs rely is distinguishable. Id. at

   10-11.

            In In re Fuzion, two entities filed for Chapter 11 protection. In re Fuzion Techs. Grp., Inc.,

   332 B.R. at 228. One director dominated those entities and transferred millions of dollars to another

   entity that the director controlled. Id. at 228-29. The Chapter 11 Trustee sought recovery from a

   law firm for negligently failing to render appropriate advice regarding a whistle blower letter that

   contained details on the director’s transfers to the other entity. Id. at 228-29. The law firm asserted

   that the parties were in pari delicto. Id. at 229. Fuzion held that the law firm, as a matter of law,

   could not assert the in pari delicto defense. Id. at 236. In doing so, Fuzion noted that state law

   applies in determining what defenses may be asserted against the Trustee in the case. Id. at 234.

   The Eleventh Circuit overruled Fuzion as contrary to 11 U.S.C. § 541(a)(2). Edwards, 437 F.3d at

   1150-52. Nevertheless, Plaintiffs argue that the public policy reasoning in Fuzion is persuasive and

   should be applied to cases not subject to § 541. The Court disagrees. As set forth above, and

   contrary to their representations, Plaintiffs’ public policy argument lacks legal authority. Moreover,

   the Eleventh Circuit has disapproved of Plaintiffs public policy reasoning. Edwards, 437 F.3d at




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   1151 (rejecting plaintiff’s argument that “his recovery would ultimately inure to the benefit of

   innocent creditors instead of the wrongful debtor” because creditors whose legal interests were

   harmed by the Ponzi scheme “could rightfully recover more outside of bankruptcy because they

   would not compete with the trustee’s claims on behalf of the debtor estate.”). Plaintiffs’ reasoning

   ignores how the Companies’ creditors may pursue their own claims against third parties who

   assisted a Ponzi scheme and thereby avoid having their claims subordinated to senior creditors’

   claims in liquidation, which would limit their recovery under the Bankruptcy Code’s claim

   prioritization rules. Edwards, 437 F.3d at 1151. Plaintiffs do not address this weakness in their

   policy argument. Since Plaintiffs’ contentions fails on this basis, and because it is entirely unclear

   how barring the application of in pari delicto advances any other important public policy,

   Plaintiffs’ contentions are unavailing.

           Because Edwards is binding on this Court, it declines to consider Plaintiffs’ other out-of-

   circuit authority.

           Plaintiffs also rely on American Pegasus SPC v. Clear Skies Holding Co., 2015 WL

   10891937, at *20 (N.D. Ga. Sept. 22, 2015), a case where the court declined to apply the in pari

   delicto defense to fraudulent conveyance claims. See, e.g., Edwards, 437 F.3d at 1152

   (“[F]raudulent conveyances also are an exception to the general rule that the trustee takes the

   debtor estate as it is at the commencement of the bankruptcy.”). Plaintiffs argue that American

   Pegasus supports their argument because fraudulent transfer and avoidance claims are not subject

   to § 541, so it follows from the inapplicability of § 541 to the instant action that this Court should

   also bar the in pari delicto defense. But Plaintiffs are not asserting fraudulent conveyance or

   avoidance claims brought under U.S. law against Defendants. As such, American Pegasus is

   inapplicable to the claims at bar.




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          Plaintiffs also rely on Rural International Bank Ltd. v. Key Financial Investment Group

   LLC, 2017 WL 5891463, at *5 (S.D. Fla. Oct. 24, 2017), but their reliance is misplaced. The court

   in Rural International held that there was no genuine issue of material fact as to whether the

   plaintiff had engaged in any wrongdoing, so the doctrine of in pari delicto was inapplicable to the

   case. Id. Here, Plaintiffs do not dispute that the Note Issuers participated in the Individual

   Wrongdoers’ scheme by transferring the money the Note Issuers raised from notes investors to

   South Bay, or that Spyglass steered investors towards the Note Issuers. Defs.’ SOMF ¶¶ 2-9; Pls.’

   CSOMF ¶¶ 2-9. Thus, Rural International is inapplicable to the facts here.

          Accordingly, summary judgment is denied on the basis of Plaintiffs’ public policy

   arguments.

          4. In Pari Delicto Defense as to Plaintiffs’ § 147 Claim

          Plaintiffs submit that the in pari delicto defense remains unavailable to Defendants against

   Count I, Fraudulent Trading under Cayman Islands Companies Law § 147, because Plaintiffs’

   § 147 claim is not subject to the defenses that Defendants could have brought against the

   Companies prior to liquidation. ECF No. [141] at 11-12. Specifically, Plaintiffs contend that

   Cayman Islands Companies Law § 146 is analogous to an avoidance or preference action brought

   under the U.S. Bankruptcy Code, for which the in pari delicto defense does not apply. Id. at 12.

   Plaintiffs reason that because §§ 146 and 147 should be “read together” as addressing “different

   aspects of the same mischief,” id. (citing In re ICP Strategic Credit Income Fund, Ltd., 2014 (2)

   CILR 1; ECF No. [40-1] at 26-30), the Court should similarly construe § 147 as prohibiting the

   defense. Id.

          Defendants respond that Plaintiffs misread ICP Strategic, which merely held that a foreign

   court is empowered to apply §§ 146 and 147. ECF No. [155] at 14.




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           Plaintiffs reply that claims brought under § 147 are personal to liquidators and are not those

   that a company undergoing liquidation could have brought pre-insolvency. ECF No. [170] at 12. 21

   Plaintiffs point to their expert’s declaration concerning the law governing § 147 fraudulent trading

   claims to support the conclusion that § 147 claims are not subject to the in pari delicto defense. Id.

   at 13 (citing ECF No. [158-1] ¶¶ 80-101).

                a. Whether Courts in the Cayman Islands Recognize the Doctrine of in Pari
                   Delicto

           The Court first addresses whether courts of the Cayman Islands recognize the doctrine of

   in pari delicto. 22 The in pari delicto doctrine was set forth in English law in Smith v. Bromley

   (1790) 99 Eng. Rep. 441, 2 Doug. 696 (Mansfield, J.). Brian A. Blum, Equity’s Leaded Feet in A

   Contest of Scoundrels: The Assertion of the in Pari Delicto Defense Against a Lawbreaking

   Plaintiff and Innocent Successors, 44 HOFSTRA L. REV. 781, 786 n.31 (2016); see also id. (citing

   Holman v. Johnson (1775) 98 Eng. Rep. 1120, 1121; 1 Cowp. 342, 343) (explaining that Lord

   Mansfield expressed both the in pari delicto doctrine and ex turpi causa principle). 23 Plaintiffs

   assert, and Defendants do not contest, that English law is part of Cayman Islands law. See ECF

   No. [158-1] (citing Ahmad Hamad Algosaibi Company v Saad Investments Company Limited,

   2018 (3) CILR 1) (following Bilta v. Nazir, [2016] AC 1 (SC)). Thus, the Court concludes that in

   pari delicto is a defense recognized in Cayman Islands law.


           21
               Plaintiffs reply that Defendants have failed to meet their burden to show there is a genuine issue
   of material fact as to whether the in pari delicto defense is available. As discussed in III.A., supra, there is
   a question of fact on whether the Individual Wrongdoer’s conduct, undisputed in Plaintiffs’ Counter
   Statement of Material Facts to Defendants’ Motion, is imputed to the Companies. As such, Plaintiffs’
   argument is rejected.
            22
               The parties do not squarely address this issue, but Plaintiffs’ briefing suggests, and Defendants
   do not dispute, that there are circumstances where the doctrine of in pari delicto may apply under Cayman
   Islands law. ECF No. [158-1] ¶ 80.
            23
               Under the ex turpi causa principle, courts will not lend aid to a plaintiff when, by their own
   admission, the plaintiff’s cause of action appears to arise from the transgression of a positive law. See John
   W. Wade, Benefits Obtained Under Illegal Transactions-Reasons for and Against Allowing Restitution, 25
   TEX. L. REV. 31, 44 (1946).


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               b. Whether § 147 Bars Defendants’ in Pari Delicto Defense

           The Court next considers Plaintiffs’ contention that precedent of the Cayman Islands

   establishes that § 147 bars the in pari delicto defense. Plaintiffs rely on ICP Strategic, a decision

   of the Cayman Islands Grand Court, Financial Services Division. There, liquidators of a company

   sought to bring an action against a U.S. law firm for assisting in a breach of fiduciary duty and

   fraud committed by the company’s CEO. ICP Strategic, 2014 (2) CILR 1 at 1; ECF No. [40-1] at

   26. “After having reviewed the subsequent evidence,” the liquidators sought to bring an action in

   the United States under § 147. Id. ICP Strategic quotes § 147, which provides as follows.

                (1) If in the course of the winding up of a company it appears that
               any business of the company has been carried on with intent to
               defraud creditors of the company or creditors of any other person or
               for any fraudulent purpose the liquidator may apply to the Court for
               a declaration under this section.
               (2) The Court may declare that any persons who were knowingly
               parties to the carrying on of the business in the manner mentioned
               in subsection (1) are liable to make such contributions, if any, to the
               company’s assets as the Court thinks proper.

   Id. at 28. ICP Strategic reasoned that,

               Section 147 creates a compensatory remedy when any part of a
               company’s business has been carried on with intent to defraud
               creditors. Section 146 creates a restitutionary remedy when any of a
               company’s property has been disposed of at an undervalue with
               intent to defraud its creditors. These sections create statutory
               remedies aimed at different aspects of the same kind of mischief.
               There is no apparent reason why the legislature should have
               intended that official liquidators be permitted to pursue the s. 146
               remedy in a foreign court but prohibited from pursuing the s. 147
               remedy in a foreign court.

   Id. ICP Strategic thereafter held that “on its true construction, official liquidators are not prohibited

   from pursuing s. 147 claims in foreign courts.” Id. As shown, ICP Strategic addressed whether

   § 147 has extraterritorial application, not whether § 147 bars equitable defenses against liquidators.

   As such, ICP Strategic does not support Plaintiffs’ contentions.



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               c. Plaintiff’s Arguments in the Toube and Mokal Declaration

           The Court next considers Plaintiffs’ additional arguments, which incorporate their legal

   experts’ joint Declaration. See generally Toube & Mokal Decl., ECF No. [158-1]. Plaintiffs argue

   that the doctrine of in pari delicto is inapplicable to Plaintiffs’ § 147 claim because (1) the dishonest

   knowledge of a company’s employees or agents is not attributable to the Company, (2) the doctrine

   of ex turpi causa does not apply to bar the claim, and (3) since claims under § 147 vest with

   Plaintiffs as liquidators, not with the Companies, the Companies’ wrongdoing does not affect

   Plaintiffs’ claims. ECF No. [158-1] ¶ 80.

           In making their first argument, Plaintiffs rely on Bilta v. Nazir, [2016] AC 1 (SC), cited in

   ICP Strategic, 2014 (2) CILR 1, ECF No. [40-1] at 29, where the Supreme Court for the United

   Kingdom held that directors of a company could not assert the defense of ex turpi causa against

   the company’s claim against the directors because the directors’ wrongful conduct could not be

   attributed to the company. Bilta, [2016] AC (SC) at 2C-2E, ECF No. [158-2] at 1072; see also id.

   ¶¶ 46, 47, ECF No. [158-2] at 1090-91 (adopting conclusion in Stone & Rolss Ltd v. Moore

   Stephens [2009] AC 1391, that ex turpi causa cannot be asserted by defendant against a corporation

   for damages caused by acts committed by those defendants in the defendant’s capacity as the

   corporation’s agents). In holding so, the Justices of the UK Supreme Court examined the

   circumstances in which it was appropriate to attribute to a company the acts, knowledge, or state

   of mind of its wrongdoing directors. Bilta, [2016] AC 1 (SC) ¶ 15, ECF No. [158-2] at 1071. The

   liquidators of the company in Bilta claimed the defendants conspired “to injure and defraud the

   company by trading in carbon credits and dealing with the resulting proceeds in such a way as to

   deprive the company of its ability to meet its VAT obligations on such trades.” Bilta, [2016] AC 1

   (SC) at 1, ECF No. [158-2] at 1071. The liquidators claimed the defendants were knowing parties




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   to the scheme and should be ordered to contribute to the company’s assets under § 213 of the

   English Insolvency Act of 1986, a statutory provision substantially identical to § 147. Id.

          Lord Mance explained that it may be appropriate to attribute the director’s acts, knowledge,

   or state of mind to the company for some purposes (such as when a third party which has been

   defrauded brings a claim against the company), while at the same time not making such an

   attribution for other purposes (such as when that company brings a claim against its dishonest

   director). Id. ¶ 43, ECF No. [158-2] at 1088-89.

          All the Justices expressed similar views. Id. ¶ 9, ECF No. [158-2] at 1080-81 (Lord

   Neuberger, with whom Lords Clarke and Carnwath agreed); Bilta, [2016] AC 1 (SC) ¶ 92, ECF

   No. [158-2] at 1110 (Lord Sumption); Id. ¶¶ 181, 191; ECF No. [158-2] at 1134, 1136 (Lords

   Toulson and Hodge).

          One Justice, Lord Sumption, further reasoned that where a fraudulent agent of a company

   breaches a fiduciary duty owed to the company, the agent’s knowledge was not attributable to the

   company as a matter of law. Id. ¶ 71, ECF No. [158-2] at 1099. That is because it would be

   paradoxical for the agent to shield himself or herself from a claim by the company for wrongs the

   agent perpetrated while acting the company’s agent. Id. ¶ 90, ECF No. [158-2] at 1109.

          However, the question here is whether § 147 bars the defense of in pari delicto, not whether

   the ex turpi causa defense is available to § 147. Plaintiffs provide no legal authority for the

   proposition that § 147 bars the former equitable defense, or that the defenses of in pari delicto and

   ex turpi causa are equivalent defenses. In fact, the Court has found that the doctrines of ex turpi

   causa and in pari delicto have been historically applied in different circumstances: ex turpi causa

   has been asserted to defend against the enforcement of illegal or immoral contracts while the in

   pari delicto doctrine has been asserted in suits for restitution. Wade, supra note 23, at 46. Absent




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   supporting legal authority, the Court rejects Plaintiffs’ first argument in the Toube and Mokal

   Declaration. For this reason, Plaintiffs’ second argument based on the Toube and Mokal

   Declaration that the doctrine of ex turpi causa does not apply to bar the claim is immaterial.

          Plaintiffs’ third argument is that a § 147 claim vests with the Liquidators and not the

   Companies, so that the Companies’ wrongdoing should not defeat a § 147 claim. Plaintiffs rely on

   ICP Strategic for the proposition that § 147 claims vest not with the Companies but with the

   Liquidators. ECF No. [158-1] ¶ 100. But ICP Strategic addressed whether § 147 has extraterritorial

   application, not whether § 147 bars equitable defenses against liquidators, and thus does not

   support Plaintiff’s argument.

          Plaintiffs also rely on In re Oasis Merchandising Services Ltd., [1998] Ch 170 (CA). There,

   the Court of Appeal of England and Wales held that a claim under § 214 of the Insolvency Act of

   1986 is not the property of a company in liquidation. Id. at 181E-182E, ECF No. [158-2] at 21-22.

   The court further reasoned that a claim under § 213 of the Insolvency Act of 1986 is also not

   property of a company in liquidation. However, Oasis Merchandising does not answer whether

   § 213 claims are subject to equitable defenses that could have been brought against a company

   prior to liquidation; as such, Oasis Merchandising does not provide guidance as to whether § 147

   bars Defendants’ in pari delicto defense here.

          Because the legal authority to which Plaintiffs cite does not support any of the arguments

   raised in the Toube and Mokal Declaration, summary judgment is not warranted on Defendants’

   in pari delicto defense regarding Count I.

   IV.    CONCLUSION

          Accordingly, it is ORDERED AND ADJUDGED as follows.




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           1. Defendant’s Motion for Summary Judgment, ECF No. [143], is GRANTED IN

              PART AND DENIED IN PART.

                 a. The Court grants in part and denies in part Defendants’ Motion for

                    Summary Judgment as to whether the in pari delicto defense bars Plaintiffs’

                    claims. The Court grants summary judgment in favor of Defendants as to

                    Spyglass’s claims brought under Florida law. The following Companies

                    may invoke the adverse interest exception to the in pari delicto defense

                    against the Counts brought under Florida law: Diversified Real Estate, GMS

                    Global Market Step Up, Preferred Income, Sentinel Investment, and SG

                    Strategic. Conversely, the following Companies may not invoke the adverse

                    interest exception: Biscayne Capital (B.V.I.), Biscayne Capital Holdings,

                    Sentinel Mandate, Spyglass, Vanguardia Group, Sports Aficionados,

                    Vanguardia Holdings, and North Pointe.

                 b. Summary judgment is denied on grounds of standing for Counts brought

                    under Florida law as to Diversified Real Estate, Global Market Step Up,

                    North Pointe, Preferred Income, Sentinel Investment, SG Strategic, Sports

                    Aficionados, and Vanguardia Holdings, but granted as to Biscayne Capital

                    (B.V.I.), Biscayne Capital Holdings, Sentinel Mandate, Spyglass, and

                    Vanguardia Group. In addition, because Plaintiffs did not respond to

                    Defendants’ argument concerning their lack of standing as to Madison,

                    summary judgment is granted to the extent that Plaintiffs assert claims on

                    behalf of Madison, a company Plaintiffs do not represent.

                 c. Summary judgment is otherwise denied as to Counts I through VI.




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                       d. Summary judgment is granted as to Deutsche Bank Suisse and Deutsche

                          Bank Lux for lack of personal jurisdiction.

                2. Plaintiffs’ Motion for Partial Summary Judgment, ECF No. [141], is DENIED.

          DONE AND ORDERED in Chambers at Miami, Florida, on March 23, 2023.




                                                           _________________________________
                                                           BETH BLOOM
                                                           UNITED STATES DISTRICT JUDGE

   Copies to:

   Counsel of Record




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